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Carol Alvarado October 06,

2022

LA UNION DEL PUEBLO ENTERO,
al.,

et.

Vv.

GREGORY W. ABBOTT, et al.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION

Plaintiffs,

)
)
)
)
) CIVIL ACTION NO.
) 5:21-CV-00844-XR
)
)
)

ORAL & VIDEO DEPOSITION OF CAROL ALVARADO
October 6, 2022
Oral & video deposition of Carol Alvarado, produced

as a witness at the instance of the plaintiffs, and
duly sworn, was taken in the above-styled and numbered
cause on the 6th day of October, 2022, before
Patrick Stephens, Certified Court Reporter, at
209 West 14th Street, Ground Floor Conference Room,

Austin, Texas 78701.

Defendant's

Exhibits

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COURT REPORTER: Okay. Great. You may take
over.
(Whereupon,
CAROL ALVARADO
was called as a witness herein and, having first been
duly sworn, was examined and testifies as follows on:)
CROSS - EXAMINATION
Good morning, Senator.

Good morning.

Q
A
Q Thank you for coming today.
A Sure.

Q And I hope you had a good drive in.

A Uh-huh.

Q My name is Kathleen Hunker. I’m an attorney with the
office of attorney general in Texas, representing the State
defendants. For the record, could you just please state and
then spell your name?

A Sure. Carol, C-a-r-o-l, Alvarado, A-l-v-a-r-a-d-o.

Q Senator, I'm going to start with some instructions and

introductory questions. After that's done, I'll move on to the

main subject of the deposition. Have you been deposed before?

A No.

Q Have you testified in court before?

A No.

Q You understand that you are under oath, though;

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A Yes.
Q And what is it?
A It's from the Senate website.

Q And so this is a printout of your bio on your Texas
Senate website; correct?

A Uh-huh, yes.

Q Now, it mentions here that in 2008 you were elected to
the Texas House of Representatives; is that correct?

A Right.

Q And it says that you served five terms representing

District 145; is that correct?

A Right.

Q And you since ran for Texas Senate in 2018; is that
correct?

A Yes.

Q And you won that particular race; correct?

A Yes.

Q And so you've now -- did you run for reelection?

A Yes.

Q And which cycle did you run for reelection?

A 2020 and then now, 2022.

Q Now, when you were a member of the Houston City
Council, was that a partisan position?
A No.

Q When you ran for the Texas House of Representatives,

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that is a partisan position; correct?

A Yes.

Q And you ran as a Democrat.

A Yes.

Q And when you ran for the Texas Senate, you also ran as

a Democrat; correct?

A Yes.

Q All right. Were you a member of any caucuses while
you were a member of the Texas House of Representatives?

A Well, I was a member of the Mexican-American
Legislative Caucus, I was a member of the Women's Health Caucus,
the Sportsmen's Caucus and, of course, the Democratic Caucus.

Q And what about the caucuses that you’re a part of as a
member of the Texas Senate?

A Well, I lead the Senate Democratic Caucus, I might
still be a member of the Sportsmen’s Caucus. I don't -- I
haven’t participated in that, but I believe I'm still a member
of that group, and then we have the -- I’m a member of the

Senate Hispanic Caucus.

Q And how long were you a leader of the Texas Democratic
Caucus?
A The Senate Democratic Caucus?

Q That's correct.
A I have led that since 2019.
Q

And what are your responsibilities as the head of the

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Q Uh-huh.
A -- or voter ID in the House, I was engaged in debate

on those issues.

Q So I guess, then, I should maybe rephrase it. So you
haven’t -- you don’t typically file elections legislation with
the exception of your electronic-voter registration bill; is
that correct?

A The bill that I have filed continuously has been the
online voter registration. That's it.

Q You don't get -- hold yourself out as being a voting-

rights specialist; correct?

A I would say voting-rights advocate.

Q And -- and this is just asking your familiarity.

A Uh-huh.

Q So what is your familiarity with the Voting Rights
Act?

A Well, I know it's been diminished as time has passed

and various sections have been done away with.

Q Have you, let's say, read the case law surrounding the
Voting Rights Act?

A No, I’ve not read any case law.

Q And have you read any of the case law surrounding
Section 2 of the Voting Rights Act?

A No, I've not read the cases.

Q And you are not an attorney; correct?

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A Right .

Q All right. All right. We can put this document
aside.

MR. GOLANDO: Do you want to mark it?

COURT REPORTER: I have the marked copy.

MR. GOLANDO: You have the marked copy?

COURT REPORTER: Yes, I have that one.

MS. HUNKER: I tried to printout enough of them.
BY MS. HUNKER (resuming) :

Q So we're going to move on to another exhibit. And I
will say we’ll be going back to this exhibit on and off through
some of the deposition, so even if you put it aside, [sic] not
to move it too far.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.

BY THE WITNESS (resuming) :

A Okay.

Q Do you have the document in front of you?

A Yes.

Q Can you see on the top where it says, Senate Journal

87th Legislature, Regular Session; correct?

A Uh-huh, yes.

Q And do you see where it says addendum?
A Uh-huh, yes.
Q

And then you'll see below it says, 40th day, Saturday,

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May 29th, 2021.

A Yes.

Q And then it goes: The following remarks regarding
SR 547 and SB7 were ordered reduced in writing and printed in
the journal. Did I read that correctly?

A Yes.

Q And you're aware that occasionally members of the
legislature can ask that the, I guess, debate get transcribed
for the record; correct?

A Yes.

Q And you're aware that that usually comes through an
addendum in the Senate Journal; correct?

A Yes.

Q And so I’m going to represent to you that this is the
addendum and Senate transcript of the debate over SB7 on May
29th, 2021. Do you have any reason to doubt my description of
the document?

A No.

Q I will also represent that I’ve only included the
pages that are going to be relevant for the deposition, so this
is not the full transcript. And so I want to turn to Page 56.

A Uh-huh.

Q Okay. And we're going to go to where it says, Senator
Alvarado, let's talk about.

A Uh-huh.

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Q Do you see that?

A Yes.

Q Okay. And so it says: Let's talk about the big
elephant in the room, and I'm not talking about party mascot;
I'm talking about Harris County. Did I read that correctly?

A Yes.

Q Senator Hughes replies: All right. And you respond
with: Okay. This is about Harris County. Would you agree?

Did I read that correctly?

A Yes.

Q And before we talk about this particular exchange, let
me take a step back. So you spoke, I believe, on what’s called
the back mic when Senate Bill 7 was up for consideration; is
that correct?

A There’s not a back mic in the Senate.

Q Oh, there’s not. My apologies --

A You just --

Q -- for getting the terminology wrong.

A -- do it from the chair, yeah.

Q So let me rephrase that. During the consideration of

Senate Bill 7, you asked questions of Senator Hughes; is that

correct?
A Yes.
Q And this would have been when the conference committee

report would have been up for consideration in the Senate.

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Would you agree with that?

A Yes. Just a minute. I'm looking at the previous
page. (Reviewing.) Okay. Yes, that was at 2 o'clock in the
morning on -- very early on Sunday morning during Memorial

weekend, yes.

Q And so you were talking about the impetus in this case
of Senate Bill 7; is that right?

A Yes.

Q Okay. And so it's your belief that election
legislation that was introduced during the 87th Legislature was
in response to the actions taken by Harris County. Is that a
fair description?

A Partly.

Q You'd agree that at least some provisions then in
Senate Bill 7 and then ultimately Senate Bill 1 were in response
to the actions taken by Harris County.

A Yes.

Q Okay. And so specifically, it was the actions taken
by Harris County in the 2020 election; is that right?

A Yes.

Q Now, you would agree with me that in 2020, in March,
the United States and the world got hit with the coronavirus --

A Yes.

Q -- COVID-19 pandemic; correct?

A Uh-huh, yes.

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Q And that introduced a significant number of challenges

for the administration of a successful election; is that right?

A Yes.

Q And so a lot of counties had to take innovative steps
in order to conduct a successful election; is that correct?

A Yes.

Q And as part of this innovation, some counties
introduced practices that had not yet been seen in Texas; is
that right?

A Yes.

Q The county clerk in Harris County during part of this
time was Chris Hollins; correct?

A Yes.

Q And do you know Chris Hollins at all?

A Yes, I do.

Q And where do you know him from?

A Just politics, being in the community.

Q And so did you know him before he was county clerk?

A Yes. Yeah, I don't know -- remember where I met him,
but we knew each other.

Q Okay. So you knew each other, but it was not like a
-- a strong relationship. It seems to be more casual; is that
correct?

A That's correct.

Q And so, during the 2020 elections, Chris Hollins

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the --

introduced a number of innovative practices in Harris County

with respect to voting; is that correct?

And so I want to talk a little bit about those

You can put that aside, but I wouldn't put it too far

A Yes.
Q
innovations.
A Sure.
Q
aside.
A Okay.
Q Yes.
A Okay.
Q It’s
A Okay.

Is it okay to mark this or --

your copy.

MR. GOLANDO: That’s actually the actual exhibit.

COURT REPORTER: The witness's copy will be

MS. HUNKER: Yes.

MR. GOLANDO: You can mark this one.

COURT REPORTER: -- actual exhibit.

THE WITNESS: Okay. I can mark -- so mark this?
MR. GOLANDO: (Nonverbal response.)

THE WITNESS: Okay.

MS. HUNKER: (Provides exhibit.)

MR. GOLANDO: Thank you.

BY MS. HUNKER (resuming) :

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Q And do you have the document in front of you?
A Yes.
Q Okay. Do you see on top where it says State of Texas,

Ruth R. Hughs, Secretary of State?

A Yes.

Q And do you see that this is from the election division
in the top left corner?

A Yes.

Q And that this is a letter addressed to Chris Hollins,
Harris County Clerk, on August 27th, 2020?

A Yes.

Q And if you turn the page, you will see it was signed

by Keith Ingram, director of elections. Do you see that?

A Yes.

Q Do you know Keith Ingram at all?

A No. I mean, I -- just by name. I don't know him.
Q And so you haven't had many interactions with him?
A No.

Q Okay. And so would you agree with my description that
this is a letter dated August 27th from Keith Ingram, director
of elections at the secretary of state's office, to Chris
Hollins, the Harris County Clerk?

A Yes.

Q And so I’m going to start with the first paragraph.

A Uh-huh.

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Q It reads: It has come to our attention that Harris

County intends to send an application to vote by mail to every
registered voter in the county. Such action would be contrary
to our office’s guidance on this issue and an abuse of rights

under the Texas Election Code Section 31.005. Did I read that

correctly?
A Yes.
Q Were you aware that Harris County made an attempt to

send an application to vote by mail to every registered voter in
the county?

A Yes.

Q Were you aware that the secretary of state had sent a
letter advising Mr. Collins [sic] that this was contrary to the
secretary of state's guidance on the issue?

A I wasn't aware that there was a letter. I was aware
that there -- that there was some -- that the State weighed in
on it, but I didn't know in which way.

Q Okay. So you knew the secretary of state’s office had
commented on the -- Harris County’s intention to send an
application to vote by mail to every registered voter in the
county, but not that it had taken the form of a letter.

A Right.

Q But you’d agree with me that the letter does state
that the secretary of state's office thought that Chris Hollins’

actions in trying to send a letter -- for an application to vote

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by mail to every registered voter in the county would be against
their guidance on the issue and an abuse of rights under the
election code.

A According to what I'm reading, yes.

Q And if you move to the next paragraph, it states: As
you know, the Texas Election Code requires that voters have a
qualifying reason to vote by mail. They must be 65 years or
older, disabled, out of the country while voting is occurring or
confined in jail but otherwise eligible to vote. Did I read
that sentence correctly?

A Yes.

Q And you're aware that Texas limits voting by mail to
those four categories; correct?

A Yes.

Q And the letter continues: It is not possible that
every voter in Harris County will satisfy one or more of these
requirements. Did I read that correctly?

A Yes.

Q And then if we go to the next paragraph: By sending
applications to all voters, including many who do not qualify
for voting by mail, your office may cause voters to provide
false information on the form. Did I read that correctly?

A Yes.

Q Were you aware that this was a concern by the

secretary of state’s office regarding Chris Hollins’ intention

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to send an application to vote by mail to every registered voter
in the county?

A Which part?

Q The part of -- that it may cause voters to provide
false information on the forms.

A No, I waS not aware.

Q And then we go to Paragraph 4, it reads: Ata
minimum, sending an application to every registered voter will
confuse voters about their ability to vote by mail. Earlier
this year and continuing, there have been a number of lawsuits
challenging the fact that Texas law requires a reason to vote by
mail. Thus far, the challenged law remains the same in spite of
these lawsuits. An official application from your office will
lead many voters to believe they are allowed to vote by mail
when they do not qualify. Did I read that correctly?

A Yes, you read that correctly.

Q Were you aware that there were lawsuits filed during
the coronavirus pandemic, specifically in 2020, about expanding
voting by mail in Texas as a response to the pandemic?

A I don't recall.

Q Were you aware the secretary of state's office had
voiced a concern that Chris Hollins’ intention to send an
application of vote by mail to every registered voter in the
county could confuse voters about their ability to vote by mail?

A No.

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Q And were you aware that the Texas secretary of state's

office was concerned that if Mr. Hollins sent an application to
vote by mail to every registered voter in the county that it
would lead many voters to believe that they are allowed to vote
by mail when they do not qualify?

A I don't recall.

Q Okay. Would you agree with me, though, that based on
this letter, the secretary of state did communicate to
Mr. Hollins that it had a concern that his actions of sending
an application to vote by mail to every registered voter in the
county could cause voter confusion and could cause voters to
believe they are allowed to vote by mail when they do not
qualify?

MR. GOLANDO: Objection, compound. Answer if you
can.
BY THE WITNESS (resuming) :

A I can't say.

Q Okay. Would you agree with me, then, that based on
this letter, the secretary of state communicated to Mr. Hollins
that his intention to send out an application to vote by mail to
every registered voter in the county would confuse voters?

A Based on what I'm reading, it -- it looks that way.

Q And would you agree with me that based on this letter
that the secretary of state's office communicated to Mr. Hollins

that they were concerned that his intention to send an

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application to vote by mail to every registered voter in the
county would lead many voters to believe they are allowed to

vote by mail when they do not qualify?

A Just based on -- based on what I'm reading, it looks
that way.

Q And we can put this document aside.

A Okay.

Q Do you have the document in front of you?

A Yes.

Q And so this is Exhibit 4. Do you see on top where

there's a stamp, and it says, District Clerk, Harris County, and
then there's a date, August 31st, 2020?

A Yes.

Q And do you see that there’s a case caption on top of
this, which is the State of Texas v. Chris Hollins?

A Yes.

Q And if we turn to Page 12, you'll see that it is
Signed and dated August 31st, 2020, and then it contains a list

of attorneys from the attorney general's office; is that

correct?
A Yes. Is that your name I see on there?
Q It is.

A Okay. Yes.
Q And do you see on -- if you go back to the front page

that the title of this document reads, Plaintiff’s Original

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A Yes, you read that correctly.

Q Okay. And then if we move to the next page, last
paragraph -- this last full paragraph --

A Okay.

Q -- it reads, We conclude the election code does not
authorize the mailing proposed by the Harris County Clerk.
Accordingly, we grant the State’s petition for review, reverse
the Court’s [sic] Appeals judgment and remand the case to trial
to issue a temporary injunction prohibiting the Harris County
Clerk from mass-mailing unsolicited ballot applications to
voters. Did I read that correctly?

A You read that correctly.

Q Would you agree with me that the Texas Supreme Court
stated that the Harris County Clerk did not have the authority
to send out unsolicited vote-by-mail applications?

A According to what I'm reading, yes.

Q If you remember, we had talked about the date on the

last page, Page 14 --

A Uh-huh.

Q -- that this opinion was delivered.

A Uh-huh.

Q This was on October 7th, 2020; correct?

A Yes.

Q And that's within a month of the election; correct?
A Yes.

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Session; correct?

A Yes.

Q And when I say Senate Bill 1, I am referring to the
omnibus elections bill that was enacted in the second special
session.

A Okay.

Q If I am referring to Senate Bill 1 that was proposed
in the first special session, I will state so specifically, but
I will state in advance that anytime I’m referring to Senate
Bill 1 without that clarification, I am referring to the one in

the second special session.

A Okay.

Q Does that makes sense?

A Yes.

Q Now, I know there were some companion bills, but I

don’t think I will be addressing them specifically during this

deposition.
A (Nonverbal response. )
Q And so Senate Bill 1 addressed county election

officials being able to send out unsolicited vote-by-mail
applications; correct?

A That, among other -- other things in the bill.

Q And so would you agree that Senate Bill 1 addressed
the concern that was raised in the litigation we were talking

about over what authority the county clerk had to send

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unsolicited ballot-by-mail applications?
A Partly.
Q We're going to move on to our next exhibit.
MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?
A Yes.
Q Do you see on the top where it says, Isabel Longoria,

elections administrator?

A Yes.

Q And then there's a little seal next to it that says
Harris County elections.

A Yes.

Q And if we turn to the next few pages, you'll see that
it has, Elections division, contact us, along with E-mail
addresses and other information from the Harris County Elections
Division; is that correct?

A Yes.

Q Now, would you agree with me -- oh, I'm going to
represent to you that this is a printout of the elections

administrator website on Harris County. Do you have any reason

to doubt or -- doubt my representation?
A No.
Q And so if we turn to Page 2, it says, Purpose --

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A Uh-huh.
Q -- Drive-through voting was created in the wake of the

COVID-19 pandemic as a safer and socially distant alternative to
walk-in voting for all voters. Harris County is the first
jurisdiction in Texas history to create this new method of
voting at scale that allows any registered voter to cast their
ballot without leaving the comfort of their vehicle. Did I read
that correctly?

A Yes.

Q Okay. Now, were you aware that Harris County
introduced drive-through voting during the 2020 elections?

A Yes.

Q And were you aware that Harris County considers itself
to be the first jurisdiction in Texas to offer this method of
voting at scale?

A That's what it says in this document.

Q Do you know of any other county that offered drive-
through voting prior to Harris County?

A Not that I'm aware of.

Q To your belief, is Harris County the first county to
offer drive-through voting in Texas?

A That's what I'm reading on the document you provided.

You can put that aside.

A (Complies with request.)

MR. GOLANDO: Thank you.

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THE WITNESS: Uh-huh.

BY MS. HUNKER (resuming) :

Q Now, did you use drive-through voting in Harris
County?

A No.

Q Did you ever go to one of the drive-through voting

Sites while they were operating?

A No.

Q Did you talk to election -- sorry -- Election County
Clerk, Chris Hollins, about drive-through voting at all?

A I don't recall.

Q Did you speak to anybody in the Harris County Clerk's
office about drive-through voting?

A I don't recall.

Q And I’m only going to specify because they changed the
titles of the office. Did you talk to anybody in the election
administrator's office in Harris County about drive-through
voting?

A I don't recall.

Q And so where do you have -- where did you receive your
information about drive-through voting?

A What was reported in the press, in the news and people
who used it.

Q So is it fair to say that you received the information

from news and voters that you communicated to?

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A Correct.
Q Okay. And how many voters did you speak with about

drive-through voting?

A I don't know.

Q Okay. Do you remember when?

A No.

Q But you have no personal experience with how drive-

through voting operated in Harris County; is that correct?
A Just what I saw on the news as people were going
through, and they’re talking to people who actually used it.
Q So I am going to introduce our next exhibit.
MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?
A Yes.
Q And do you see on top where it says, Ken Paxton,

Attorney General of Texas, along with the seal of the attorney
general?
A Yes.

Q And do you see that it is dated October 16th, 2020?

A Yes.

Q And do you see where it's addressed to Texas election
officials?

A Yes.

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specifically, the code makes no provision for drive-through
voting at which any voter may cast a ballot from his or her

vehicle regardless of physical condition. Did I read that

correctly?
A Yes.
Q Okay. So before I ask you some questions specifically

about the content of the letter, I just want to make sure that
we are using the same terminology.

A Okay.

Q And so you do understand that curbside voting is
distinct from drive-through voting; is that correct?

A Yes.

Q Okay. And curbside voting in Texas is limited to
individuals who have certain physical ailments or disability; is
that right?

A Yes.

Q And then drive-through voting, in contrast, was the
option offered by Harris County that would let any individual
vote using their car; is that correct?

A Yes, and I will add that this form of voting, along
with some other forms of voting, was proposed, agreed to by a
bipartisan committee --

Q Uh-huh.

A -- or counsel, whatever it’s called. I believe there

were people from both parties, the Republican Party of Harris

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County and the Democratic Party, involved in this decision-

making.

Q Okay. So I’m going to ask you about that in a minute.

A Okay.

Q So, now, have you ever voted curbside?

A No. I have, during my role as a precinct chair,
assisted.

Q And so curbside voting is still available today;
correct?

A Yes. It is different than when I was involved in it,
yes.

Q Okay. And curbside voting was allowed in 2020;

correct?
A Yes.
Q Okay. And so, in curbside voting, a person pulls up

to the voting location; correct?

A Yes.

Q And then usually there's either a phone number or some
sort of signal to communicate to those inside that there's
somebody waiting to do curbside; is that correct?

A Yes.

Q Okay. And then the poll workers will bring the device
to the car; is that correct?

A Yes.

Q And a person can cast their ballot from inside their

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car.
A Yes.
Q Okay. And so that's curbside voting; correct?
A Yes.

Q Okay. All right. So let's look back at this letter.
So would you agree with me that in this letter the attorney
general communicated to Texas election officials his belief that
the election code makes no provision for drive-through voting
centers at which a voter may cast a ballot from his or her
vehicle regardless of physical condition?

A Yeah, I can't say.

Q Would you agree with me that in this letter, the
attorney general, Ken Paxton, is communicating to Texas election
officials that he believes drive-through voting is illegal?

A I'm reading. I'm reading to find if it says that.
(Reviewing.) I -- I can't say that.

Q Okay. So let's look at two sentences, the last
sentence in Paragraph 2: More specifically, the code makes no
provision for drive-through voting centers at which any voter
may cast a ballot from his or her vehicle regardless of physical
condition. Did I read that correctly?

A You did.

Q And so the attorney general told Texas election
officials that it’s -- it was his belief that the election code

makes no provision for drive-through voting centers at which any

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voter may cast a ballot from his or her vehicle regardless of
physical condition; is that correct?

A Yes.

Q Okay. Now, let's look at the last sentence of
Paragraph 3: But if a voter could enter the polling place on
his or her own without a likelihood of injury, then it is
unlawful for an election official to allow that voter to cast a
ballot outside of the voting place. Did I read that correctly?

A Yes.

Q Would you agree with me then that Attorney General Ken
Paxton communicated to Texas election officials that he believed
that if a voter could enter the polling place on his or her own
without a likelihood of injury, then it would be unlawful for
the election official to allow that voter to cast a ballot
outside the polling place?

A I can't say that.

Q What, then, do you think he meant by that last

sentence in Paragraph 3?

A I'm not sure.
Q We can put this document aside.
A (Complies with request.)

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?

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that nine of the tented sites did not meet the Texas Election
Code requirement that polling places be inside a building. Did
I read that correctly?

A Yes.

Q Okay. Were you aware that Harris County had shut down
9 of its 10 election day drive-through voting sites for election
day?

A I was aware that some were shut down. I don't know --
I don’t recall the exact number.

Q Okay. Were you aware of the reason they were shut
down when they were shut down?

A To some extent.

Q So you were aware that they were shut down because of
an ongoing concern that the lawsuits that were challenging the
drive-through voting sites would be successful; is that concern
-- is that correct?

A I knew it had to do something with the definition of a
structure or building.

Q Okay. So you knew it had to do with interpretation of
the election code.

A I knew that it had to do something with the definition
of a structure or polling location.

Q Okay. And so you knew it had to do with a
definitional question that had yet to be resolved. Is that fair

to say?

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the days leading to election day; is that correct?

A Re -- restate that.

Q Sure. Let me rephrase.
A Yes.
Q Would you agree that in order for counties to be able

to successfully run an election, they need to have clarity over
what their obligations are?

A That's pretty broad. Can you be more specific?

Q Okay. Do you think in order for an election official
to be able to successfully run an election, they would need to
have clarity over what the definition of a structure or polling
place is?

A I -- I don't know.

Q Do you think that having confusion over the definition
of a polling place and/or structure could result in difficulties
administering elections?

A I'm not sure.

Q We can set this aside. Now, you had talked about the
bipartisan committee --

A Uh-huh.

Q -- being responsible for -- or let me rephrase. You
had referenced a bipartisan committee with respect to the
creation of drive-through voting; is that correct?

A An assortment of proposals, yes.

Q And so who was this bipartisan committee?

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Q And so where did you learn about this bipartisan
committee?
A I believe it was in the -- in the press, in the media,
yeah.
Q So your information about the bipartisan committee

that you believe was the impetus for drive-through voting, the
ideas behind drive-through voting, you got that information from
the press?

A Yes, and the Harris County administrator at the time
of the committee hearing, Isabel Longoria, during her testimony,
she made a point to mention that it was a bipartisan group.

This was a committee that I sat in a hearing of.

Q And do you happen to recall when this testimony would
have taken place, or at least in -- with respect to which bill?

A No.

Q Okay. Drive-through voting was addressed in Senate

Bill 1; correct?
A Yes.
Q And Senate Bill 1 clarified that drive-through voting
would not be permitted; correct?
A Yes.
Q I'm going to move on to Exhibit 11.
MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.

BY MS. HUNKER (resuming) :

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Q Do you have the exhibit in front of you?
A Yes.

Q Okay. And do you see on top where it says Chris
Hollins, County Clerk, recording the mayor events -- major
events of your life and protecting your right to vote?

A Yes.

Q And do you see where it has the seal, County Clerk,
Harris County, Texas?

A Yes.

Q And do you see the date is July 22nd, 2020?

A Yes.

Q And that the letter is addressed to Governor Greg

A Yes.

Q And that it is signed by Chris Hollins, County Clerk
of Harris County, on the bottom?

A Yes.

Q Okay. Would you agree with me that this is a letter
sent by Chris Hollins, county clerk from Harris -- yeah -- Texas
to Governor Greg Abbott dated July 22nd, 2020?

A Yes.

Q And so I am going to draw your attention to the third
paragraph where it says, I write. Do you see that?

A Yes.

Q Okay. It says: I write today to ask two things of

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you: One, please provide by the end of July the new start date

of early voting for the November election; and, two, please

increase early voting by at least one week to begin no later

than Tuesday, October 13th, 2020. Did I read that correctly?
A Yes.

Q And I want to look a little bit at Paragraph 2 as

A Okay.

Q Do you see in the top of the paragraph, it reads:
Acknowledging the difficulty of voting during the ongoing
pandemic, you moved the May primary runoff elections to July and
also increased the days of early voting for July elections. Did
I read that correctly?

A Yes.

Q Were you aware that Governor Abbott extended early
voting for the primary runoff in 2020 by an additional week?

A Yes.

Q Now, would you agree with me that in this letter,
Chris Hollins is asking Governor Abbott to increase early voting
by at least a week for the November 2020 election?

A That's what it says here, yes.

Q Okay. And we can put this down.

A Okay. (Complies with request.)

Q And I’m going to produce Exhibit Number 12.

MS. HUNKER: (Provides exhibit.)

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bottom?
A Yes.

Q All right. And now let's look at the substance of the
proclamation. And, actually, before I do that, you'll agree
with me that the document I've given you is a copy of the
proclamation issued by Governor Greg Abbott on July 27th, 2020,
in response to the COVID-19 pandemic.

A Yes.

Q Okay. And so let's look where it says, Now, therefore
I, Greg Abbott --

A (Complies with request.) Okay.

Q -- under the authority vested in me by the
constitution and laws of the State of Texas do hereby suspend
Section 85.001(a) of the Texas Election Code to the extent
necessary to require that for any election ordered or authorized
to occur on November 3rd, 2020, early voting by personal
appearance shall begin on Tuesday, October 13th, 2020, and shall
continue through the fourth day before election. Did I read
that correctly?

A Yes.

Q Okay. And so in this proclamation, Governor Greg
Abbott extends early voting by one week during the November 2020
election; is that correct?

A Yes.

Q And so he abided by the request of County Clerk

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Chris Hollins, who requested an additional week of early voting;
is that correct?

A I'm not sure he -- it was done because of the -- that
request. I don't know.

Q You'd agree, though, that Governor Greg Abbott's
actions aligned with Chris Hollins’ request that early voting be
extended one week?

A I -- I don't know.

Q And then let's look at the next sentence: I further
suspend Section 86.006(a-1) --

A Uh-huh.

Q -- of the Texas Election Code for any election ordered
or authorized to occur on November 3rd, 2020, to the extent
necessary to allow a voter to deliver a marked mail ballot in
person to the early-voting clerk's office prior to and including
on election day. Did I read that correctly?

A Yes.

Q Were you aware of -- of when a voter could deliver in
person their marked mail ballot prior to the proclamation?

A Not exactly, no.

Q Okay. So you were not aware that prior to the
proclamation, the only date a voter could return their marked
mail ballot in person was on election day.

A No, I wasn't aware.

Q Would you agree that Governor Greg Abbott's order

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a marked mail ballot?

A According to this, yes.

Q Okay. And so Governor Greg Abbott, in response to
COVID-19 pandemic, took steps to make voting easier in light
the challenges presented; is that correct?

MR. GOLANDO: Objection, form.
BY THE WITNESS (resuming) :

A Can you restate that, please?

Q Sure. Would you agree with me that based on this
document, Governor Greg Abbott took steps to alleviate the
burdens that COVID-19 would have on voters trying to vote?

A I don't know if that was the intent. According to
this, two changes were made.

Q Would you agree that he responded to the COVID-19

number of days an individual can deliver their marked mail

ballot in person?

COVID-19 pandemic, Governor Greg Abbott took at least two
actions with respect to elections: The first, extending the

number of days of early voting by one week; and, second,

extended the number of days that a voter could deliver in person

the
of

pandemic by expanding early-voting period and by expanding the

A According to this proclamation, he made two changes.

Q And those are the two changes; correct?

A Yes, these two.

Q And so you would agree with me that in response to the

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extending the number of days that an individual could return
their marked mail ballot in person?

A That's what it says in the proclamation.

Q We can put this aside. Were you aware that Harris
County sought to increase the number of locations in which an
individual can deposit their marked mail ballot in person?

A Yes.

Q So I'm going to introduce Exhibit Number 13.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
THE WITNESS: Thank you.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?
A Yes.
Q Okay. And so you read where it says, In the Supreme

Court of Texas, and then it has, In re Hotze, M.D., Harris
County Republican Party.

A Yes.

Q And it also has Justice Devine dissenting from the
Court’s order, denying the petition of writ of mandamus and
motion to stay.

A Yes.

Q And if we turn to the last page, you'll see the
opinion is delivered on October 7th, 2020; is that correct?

A Yes,

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the early-voting clerk is the county’s election administrator
who maintains only one office. My understanding is that the
Fort Bend County intended to use other county annexed offices in
addition to the election administrator's office to accept in-
person delivery of mail ballots under Section 86.006(a-1). Did
I read that correctly?

A Yes.

Q Okay. And so you had -- you had not heard that in at
least one case, Fort Bend County, they had intended to use
offices that were not the early-voting clerk's office; is that
correct?

A Yeah, I don't -- I didn't know. I'm not aware.

Q Now, we had already established that you don't know
what occurs when a ballot is cast at an illegal voting site; is

that correct?

A Correct.

Q We can put this aside.

A (Complies with request.)

Q Now, Senate Bill 1 addressed the number of locations

that mail-in ballots could be delivered; is that correct?

A Yes.

Q And so Senate Bill 1 addressed the question that was
presented by litigation over what was a proper delivery site; is
that correct?

MR. GOLANDO: Objection, to the extent it calls

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for a legal conclusion. If you have an opinion, you may offer
it.

BY THE WITNESS (resuming) :

A Can you restate --

Q Sure.

A -- the question?

Q So Senate Bill 1 addresses the concern that was raised

in litigation over what the definition of a proper ballot-
delivery site was.

A I -- I'm not aware.

Q Okay. Now, did you talk to any election official --
when I say election official, I'm talking about the county
clerk's office -- during the 2020 election about how multiple
ballot-delivery locations operated in Harris County in 2020?

A No, I don't believe so.

Q And did you talk to any voters about their experience

using the multiple ballot-delivery sites in the July 2020

runoff?

A No.

Q And so you don't know any, like, logistical problem
that may have occurred with the in person -- multiple in-person

delivery sites; is that correct?
A That's correct.
Q And did you inquire over whether any logistical

concerns had come about in response to the multiple in-person

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A Yes.
Q And so, according to this document, Harris County had

only six locations that were open for 24 hours on October 29th;
is that correct?

A Yes.

Q And this is out of, I believe, 112 locations; is that
correct?

A (Reviewing.) Yes.

Q And so Harris County offered early -- let me take that
back. Harris County offered 24-hour voting at six locations one
day out of its 112 early-voting locations; is that correct?

A (Reviewing.) It appears that way.

Q Okay. Are you aware of any other county that offered
24-hour voting in the 2020 election?

A I'm not.

Q Are you aware of any county that offered 24-hour
voting prior to the November 2020 election?

A I'm not aware.

Q To your knowledge, is Harris County the first county
in Texas that would have offered 24-hour voting?

A Yes.

Q And did you talk to any of the election officials in
the county clerk's office about how 24-hour voting was
conducted?

A No.

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regarding voters knowing which locations offered the 24-hour

voting?
A No.
Q And did you inguire as to whether there was any voter

confusion on voters not knowing which sites had the extended
hours?
A No.
Q All right. We can put that aside. Senate Bill 1
addressed 24-hour voting; correct?
A Yes.
Q I believe Senate Bill 1 standardized the hours that
each county could offer in-person voting; is that correct?
A Yes. And, again, you are referring to Senate Bill 1
in the second special session?
Q That's correct.
A Yes.
Q Let's refer back to that exhibit in the beginning that
had the Senate Journal, which was Exhibit Number 2.
MR. GOLANDO: (Provides exhibit.)
THE WITNESS: Thank you.
MR. GOLANDO: Yes, ma'am.
BY THE WITNESS (resuming) :
A Uh-huh. (Reviewing.)
Q Now, specifically, I want to turn to Page A-56.
A Okay.

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Q Do you have that in front of you?
A Yes.

Q Okay. So I'm looking at the second to last statement
that you would have given, which reads, Okay, so let's -- do you
see that?

A The one that says, Okay, so let's talk?

Q Yes.

A Yes.

Q So it reads: Senator Alvarado, okay. So let's talk
about the drive-through voting. This bill would eliminate
voting in tents or garages, those type of structures or anything
else that could be considered drive-through voting. Is that
accurate? Senator Hughes, I believe that is fair. The idea is
that drive-through voting was not specifically provided for in
the election code before, and so this is clarifying that's not
what's in the code. Did I read that correctly?

A Yes.

Q Now, we had discussed that there was litigation over

whether or not drive-through voting was permitted by the code;

correct?
A Right.
Q And so Senator Hughes here is referring to that

question of whether or not the election code previously before
Senate Bill 1 allowed drive-through voting; is that correct?

A Say that again.

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Q So Senator Hughes here is stating that --

MS. HUNKER: Actually, will the court reporter be
able to repeat my question?

COURT REPORTER: Yes. Okay. Question: And so
Senator Hughes here is referring to that question of whether or
not the election code previously before Senate Bill 1 allowed
drive-through voting; is that correct?
BY THE WITNESS (resuming) :

A I'm not sure.

Q Okay. Would you agree that he referenced the question
over whether drive-through voting was allowed under the code
previously when he was explaining his reasons for having
provisions in the omnibus elections bill that excluded drive-
through voting?

A Yes. According to this journal, he does reference the
election code.

Q Okay. And if we turn to Page 58, Senator Hughes
states in the middle: Well, I remember reading where the
election official in charge of this in Harris County said that
we stopped doing it before election day because we were
concerned the votes wouldn't count. That sounds like a real
problem. Did I read that correctly?

A You did.

Q And we had talked about Chris Hollins had shut down

several drive-through voting sites before election day; correct?

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aren't accounted for? Did I read that correctly?

A Yes.

Q And so let's quickly jump to Page 100.

A (Complies with request.) Uh-huh.

Q Actually, I'm sorry. Can we go back to Page 98? I
missed a line.

A Uh-huh.

Q So Senator Bettencourt continues: In fact, it's a
one-and-a-half percent error rate. Did I read that correctly?

A (Reviewing. )

Q No, we're down -- further down.

A Oh, okay. Okay. Yes.

Q Senator Eckhardt, wouldn't you like to hold an
election, Senator Buckingham, with a one-and-a-half percent
error rate that you can’t verify who voted? You don't know who
the names are and you are not even sure that your vote totals
match your own figures, much less what you sent to the secretary
of state. That's what the record of Harris County is. It's not
a record, Dean, of success, it's a record of failure, because
they had a one-and-a-half percent error rate in the -- in that

drive-through voting system. Did I read that correctly?

A Yes.
Q And so in this long soliloquy, Senator Bettencourt is
stating that -- or alleging that there was a one-and-a-half

percent error rate in the vote totals through drive-through

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voting; is that correct?
A That's what he says here.

Q Yeah. And so he's alleging this on the floor;

correct?
A Yes.
Q Had you heard of any concerns in Harris County about

an inability to reconcile the numbers for drive-through voting?

A I don't recall.

Q Okay. Now let's turn to Page A-100.

A (Complies with request.)

Q And we're going to go towards the middle where it
says, So, members, we've heard a lot.

A Yes.

Q So, members, we've heard a lot, but facts are stubborn
things, and these are the facts of what the real Harris County
experiment is: Even today we've got 1,884 unaccounted-for
votes. And why does that matter? Well, two election cycles ago
we had a state rep when by 47 votes and another one lose by 117.
This last election cycle we had a -- had win [sic] by 300. In
the same -- in the same race, the other guy lost by 300. So
1,884 votes means something. An error rate of one --
one-and-a-half percent affects the outcome of these elections,
and the public won’t tolerate it, and that's why I support
Senate Bill 7. Did I read that correctly?

A Yes.

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Q

And so you'd agree that in this discussion,

Senator Bettencourt expresses a concern that an error rate in

drive-through voting could change the totals of a close

election.

A

Q

That's what he states here.

And do you have any reason to doubt the veracity of

his belief?

A

Q
it.

A

Q

I -- I can't say.

We can put this aside, but we will be coming back to

Okay.

And so would you agree that the state has an interest

in ensuring that every vote legally cast is counted?

A

Q

Sure.

Now, I actually want to introduce Exhibit Number 16,

but it’s going to be Clip Number 2.

(Video playing.)

BY MS. HUNKER (resuming) :

PO FP YO

Q

Were you able to hear that clip?
Barely.

Were you able to make out its contents?
Yes.

That was a clip of the filibuster you gave in

Senate Bill 1; correct?

A

Yes.

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Q

A

PO FP YO

Q

A

Q
advancing

A

Q
clip.

Q
A

Q
of Senate
A
Q
Senate to

A

And in it, you say that Texas Democrats support

election integrity; is that correct?

Yes.

And do you still hold that position?
Yes.

And do you support election integrity?
Yes.

And so you'd agree that election integrity is a

interest of the state; correct?

It's an interest of mine.

And would you agree the state has an interest in
election integrity?

Yes.

And so I'm going to introduce Exhibit 17 as another

(Video playing.)

BY MS. HUNKER (resuming) :

Were you able to hear that clip?

Yes.

Okay. And that was also a clip from your filibuster
Bill 1; correct?

Yes.

And in it, you talk about the ability of the Texas
have respectful disagreement; is that correct?

Yes,

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Q And so we had talked about your interest in election

integrity and that you support election integrity; correct?

A Yes.

Q And we talked about how the Texas Democrats have an
interest in election integrity and that they support election
integrity; correct?

A Yes.

Q You'd agree, though, that people can disagree about
the best way of advancing election integrity; correct?

A Yes.

Q And that in the Texas Senate, it could be respectful
disagreement; is that correct?

A Yes.

Q Now, would you agree that the State of Texas has an

interest in ensuring that voters have confidence in the

election?
A Yes.
Q And would you agree that voters losing confidence in

the election can have a negative impact on our Democratic

system?
A Yes.
Q And would you agree that for some members of the

public, advancing election integrity is a way of advancing
confidence in the voters’ confidence in the election?

A Could be.

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Q And would you agree that some members of the Texas
Senate believe that advancing election integrity is a way of
advancing voters’ confidence in the election?

A It could be. It's open for interpretation.

Q Would you agree that it is important that elections
are conducted securely?

A Yes.

Q And would you agree that the State of Texas has an
interest in ensuring that elections are conducted securely?

A Yes.

Q Do you believe it is important that the State of Texas
discourage and prevent voter fraud?

A Yes.

Q Do you agree that the State of Texas has a significant
interest in preventing voter fraud from occurring?

A Yes.

Q Would you agree that privacy is important with regards
to elections, specifically the ability to cast a ballot in
secret?

A Yes.

Q And do you support the secret ballot?

A Yes.

Q Would you agree that the State of Texas has a
legitimate interest in protecting the secrecy of the ballot?

A yes.

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Q Would you agree that the State has a legitimate
interest in preventing voters from being coerced into casting a
vote for or against a particular candidate or proposition?

A Say that again.

Q Would you agree that the State has a legitimate
interest in preventing voters from being coerced into casting a

vote for or against a particular candidate or proposition?

A I -- I don't know. I’m not sure.
Q Let me rephrase the question, since it might have
been --
A Yeah.
Q -- confusingly stated. Would you agree that the State

has a legitimate interest in preventing voters from being
coerced into voting a specific way?

A Yes.

Q Would you agree that a voter is unable to fully
exercise his or her right to vote if he or she is coerced into
voting a specific way?

A Possibly.

Q Would you agree that there’s a possibility that a
voter can be coerced at home when filling out a mail-in ballot?

A I don't know.

Q Would you agree that it’s possible for a voter to be
coerced when voting in a car by other passengers who can see the

voter’s ballot?

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VIDEOGRAPHER: On the record at 1:39.

BY MS. HUNKER (resuming) :

Q Senator, did you have a good break?
A Yes, it was nice to get some fresh air.
Q Glad to hear it. So when we were closing up our last

session, we were talking a bit about the quorum break that
occurred in the summer of 2021; correct?

A Uh-huh.

Q Were you part of the negotiations to get Texas
Democrats back into quorum?

A No.

Q And did you communicate with anybody while those
negotiations were ongoing with respect to the negotiations?
A No -- about the negotiations, no. I kept in

communication with some of my house colleagues.
Q Uh-huh. Do you know the ultimate reason why the Texas

House Democrats came back?

A No.
Q So I'm going to introduce what I believe is
Exhibit 21.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
THE WITNESS: Thank you.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?

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A Yes.
Q And do you recognize this document?
A Uh-huh, yes.
Q And what is it?
A It has a list of amendments.
Q And so this is from the Texas Legislature Online --
A Yeah.
Q -- is that correct?
A Yes.
Q And do you know what Texas Legislature Online is?
A Yes.
Q And that's a place where legislative record is

compiled; is that correct?

A Yes.

Q And so here I have a list of amendments for Senate
Bill 1, which you can see from the legislative session, it was
during the second special session.

A Uh-huh.

Q Would you agree with that description?

A Yes.

Q Okay. Now, you did not file an amendment for Senate

Bill 1; is that correct?

A Right.
Q Okay. The other Democrats did propose amendments;
correct?

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A Yes.
Q And a few of those amendments proposed by Texas

Democrats were adopted; is that correct?

A Yes.

Q And so we can see, if going down to Number 11,
Senator Bucy had an amendment that was adopted; correct?

A Yes.

Q And -- sorry -- House Member Bucy.

A Uh-huh.

Q And Bucy’s a member of the House Texas Democratic
Caucus; correct?

A Yes.

Q And then if we look at the Senate amendments, on top
we see West on F-9 and Zaffirini for F-7 and F-5. They had

amendments adopted; correct?

A Yes.

Q And Senator West is a Democrat; correct?

A Yes.

Q And Senator Zaffirini is a Democrat, too; correct?

A Yes.

Q And so the Texas Legislature accepted amendments from

Texas Democrats for Senate Bill 1; correct?
A A few, a -- some, not near as many as Republican
amendments.

Q They did -- the Texas Legislature did accept some

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Texas-Democrat amendments -- correct? -- for Senate Bill 1.
A Some, not many.
Q Now, even though you did not propose an amendment, you

did have an effect on the content of the final document;
correct?

A Yes.

Q Okay. And so let’s talk a little bit about some of
the provisions that you are responsible for either their
introduction or removal.

A Okay.

Q And so I want to go back -- you can put this document

aside -- to Exhibit Number 2.

A Exhibit Number 2?

Q Yes. This is the Senate Journal that we have been --
A Okay.

Q -- using occasionally.

A All right.

Q And we're going to be looking at Page 57.

A Uh-huh.

Q Specifically starting with, So you are saying.

A Okay.

Q Let me know when you -- when you see it.

A I have it.

Q Okay. You state: So you are saying you made some

changes based on a conversation you had with me or Senator Miles

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or Senator Whitmire. Senator Hughes says: Yes. You said:

What is that change? Senator Hughes replies: Senator, you and
I had lengthy discussions when we were discussing on Senate Bill
7 when it was originally -- when it was in the Senate
originally, and we talked about those early-voting locations in
urban counties and you recalled a provision that was going to
require them to be distributed evenly based on population. Did

I read that correctly?

A Yes.

Q And then there's a rapid exchange where you say:
Yeah, we had -- we had quite an exchange on that.

A Uh-huh.

Q And then he replies: As you probably noticed, that
provision is not in the conference committee report. Did I read
that correctly?

A Yes.

Q And so I am going to introduce Exhibit Number 22.

MS. HUNKER: (Provides exhibit.)

MR. GOLANDO: Thank you.

THE WITNESS: There's something in this room that
triggers my allergies. I don’t know what it is. I know I have
them.

MR. GOLANDO: It's probably me.

MS. HUNKER: No comment.

BY THE WITNESS (resuming) :

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Okay.

A
Q So this is a copy of Senate Bill 7; correct?
A Yes.

Q And I'll represent to you that this was the engrossed
copy printed from the Texas Legislative Online website. Do you

have any reason to doubt my representation?

A No.

Q Okay. And so let's look at Page 14.

A Okay.

Q And you'll see where it says Subsection 2.

A Yes.

Q And this reads: In a county with a population of 1

million or more, the number of polling places located in each
state-representative district included in the territory of the
county is calculated by deriving the number of eligible voters
residing in that district by the total number of eligible voters
residing in the county and using the number generated as a
percentage to allocate the same percentage of polling-place
locations, rounding up to the nearest whole number if necessary.
Did I read that correctly?

A Yes.

Q And was this the provision you were referring to that
had to do with the urban counties and requiring polling places
to be distributed evenly based on population?

A Yes. We had quite a lengthy discussion on it in

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debate, and I had to go through a lot of numbers and facts
during the debate to show -- to demonstrate to Senator Hughes
what I saw as something that was an unfair process.

Q And Senator Hughes responded favorably to your points,
removing a provision from Senate Bill 7; is that correct?

A After a lengthy discussion --

Q Yes.
A -- yes.
Q So after a lengthy discussion, he removed it.

A After my -- mostly my lengthy discussion pointing out
the errors and the flaws.
Q So after you pointed out the errors and the flaws in a

lengthy discussion with Senator Hughes --

A Yes.

Q -- Senator Hughes agreed to take out the provision; is
that correct -- from Senate Bill 7?

A Yes.

Q Okay. And that provision remained excluded in Senate

Bill 1, which was introduced and enacted during the second
special session; correct?

A Yes.

Q And so your discussion with Senator Hughes about the
distribution of early-voting locations bore fruit in the final
bill that was passed by the legislature?

A Yes. Again, after I pointed out the many flaws,

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A Yes.
Q Now, I'm going to represent to you that this is a copy

of the engrossed version of Senate Bill 1, taken from the Texas

Legislative Online website. Do you have any reason to doubt my

description?
A No.
Q And can you just for the record and clarity tell me

what an engrossed copy is?
A Both -- it’s passed both chambers.
Q Passed both or only one?
MR. GOLANDO: You said engrossed; right?
MS. HUNKER: Yes.

BY MS. HUNKER (resuming) :

Q Engrossed means it only passed one; correct? One
chamber?

A Yes. I’m sorry. Well, in this case, yeah, the
Senate.

Q And so I want to turn to Page 42.

A 42. Okay.

Q So if you look on 41 -- so if you look at 41 at
Section 5.04, and this is the oath that an assistor would take
when providing assistance to a voter; is that correct?

A Yes.

Q And just for clarity of the record, you’re aware that

whenever words are underlined, that means that the language has

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been added to the bill; correct?

A Yes.

Q And if language has a strike through it, that means
that's been removed; correct?

A Right, right.

Q And if we look at the oath, one of the changes in the
middle on Page 42, it says: I did not encourage, pressure or
coerce the voter into choosing me to provide assistance. Did I
read that correctly?

A Yes.

Q And was this the revision you were referring to in
your filibuster testimony?

A Yes.

Q And so your concern was over the word encourage; is
that correct?

A Right.

Q And so now I want to give to you Exhibit, I think, 25.

MS. HUNKER: Am I correct?

MR. GOLANDO: No, I think you’re on 24.
THE WITNESS: We’re on -- this is 24.
COURT REPORTER: Yeah.

MS. HUNKER: So 25.

THE WITNESS: Yeah, that’s 25 there.
MS. HUNKER: (Provides exhibit.)

MR. GOLANDO: Thank you.

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BY MS. HUNKER (resuming)

Q And you see this is Senate Bill 1; correct?

A Yes.

Q And if you turn to the back, you'll see that it’s
Signed by the president of the Senate and the Speaker of the

House; correct?

A Yes.
Q As well as signed by the Governor.
A Yes.

Q And there's also a little stamp that says it was filed
in the office of the secretary of state on September 7th.

A Yes.

Q And so would you agree with me that this is an

enrolled version of the Senate Bill 1 which was enacted by the

legislature?
A Yes.
Q And so this is the version that would have taken

effect and become law; correct?

A Yes.

Q And so let's turn to Page 53.

A (Complies with request.)

Q The oath actually starts on Page 52, just to
acknowledge that this is also in reference to the oath, and now
let's look at that provision. It reads: I did not pressure or

coerce the voter into choosing me to provide assistance. Did I

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read that correctly?
A Which page are we on? I’m sorry.
Q 50 --
MR. GOLANDO: It’s right here.
THE WITNESS: Okay.

BY MS. HUNKER (resuming) :

Q 53.
A (Reviewing.) Yes.
Q Okay. And so between the enrolled version, which

passed the Senate, and the enacted version, which was passed by
both Houses, signed by the Governor and effected into law, they

removed the word encouraged; correct?

A Yes.
Q And so Senator Hughes responded to your criticism by
removing the -- the -- the specific word and language that you

objected to; is that correct?

A I don't know if it was mine alone, but possibly.

Q Okay. But at the very least, he responded to
something you -- you and possibly others had objected to
regarding the language of the oath provision; is that correct?

A Yes.

Q And I'm going to show you another clip, and this is
being introduced as Exhibit Number 26.

(Video playing.)

BY MS. HUNKER (resuming) :

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Q Were you able to hear the clip?

A Yes.

Q And was that a statement -- an exchange that you had
with Senator Blanco during the filibuster?

A Yes.

Q And so in the clip you mentioned a need for training
of poll watchers; is that correct?

A Yes, and I do mention that he had brought it up in
previous discussions with Republicans and Democrats in a mixed
audience, so this issue of the training had been discussed
multiple times.

Q And so the addition of a training program was
something you and multiple other senators had recommended get

added to the bill; is that correct?

A Yes, several times.

Q And I want to go now to Senate Bill 1 --
A Uh-huh.

Q -- on Page 25.

MR. GOLANDO: Which version of Senate Bill 1?
MS. HUNKER: The one that was enacted, so the
enrolled version.
BY THE WITNESS (resuming) :
A Okay. Page 25?
Q Uh-huh.
A Okay.

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Q And if you see Section 4.04, which amends Section
33.008 of the election code, it says: Training program, the
secretary of state shall develop and maintain a training program
for watchers. The training must, one, be available; A, entirely
be of the Internet; and, B, at any time without a requirement
for prior registration; and, two, provide a watcher who
completes the training with a certificate of completion.

A Uh-huh.

Q Did I read that correctly?

A Yes.
Q And then if you move on to Section 4.05 of Senate
Bill 1 --
THE WITNESS: I'm sorry. Who -- we had somebody
new join us. Who is -- who are you?

MR. ATALLAH: I’m just an intern.

MS. HUNKER: This is Will Atallah. He isa
intern in my office.

THE WITNESS: Okay.

MS. HUNKER: Like I mentioned earlier --

THE WITNESS: Okay.

MS. HUNKER: -- he might join us.

THE WITNESS: All right. That’s fine. Okay. Go
ahead.
BY MS. HUNKER (resuming) :

Q And so if we look at Page 25, Section 4.05 of Senate

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Bill 1, which amends Section 33.031 of the election code, it
reads: In addition to the requirements of Subsection A to be
eligible to serve as a watcher, a person must complete training

under Section 33.008.

A Yeah.

Q Did I read that correctly?

A You did.

Q And so the final version of Senate Bill 1 added a

training program that you and other senators had recommended be
added; is that correct?

A Yes, but that was done in the House, not the Senate
where we, on multiple locations, stressed the need for mandatory
training, and quite frankly we were ignored, so it wasn't until
it went to the House that that was done.

Q Okay. And the Senate ultimately passed the version of

the bill that contained the training requirement; is that

correct?
A Yes.
Q And so the provision that you had recommended was

ultimately accepted by the Texas Senate with respect to the
training of poll watchers?

A After multiple occasions of trying to make the point
of why it was necessary and then it going to the House and a
House member putting [sic] on the bill, then ultimately, yes, it

was passed by the Senate.

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Q And I'm going to introduce another audio clip as an
exhibit, 27.
A Okay.

(Video playing.)

BY MS. HUNKER (resuming) :

Q Were you able to hear the clip?

A Yes.

Q Okay. And this was a statement you had given during
your filibuster of Senate Bill 1; correct?

A Yes.

Q Now, this was talking about signature-match
requirements; is that correct?

A Yes.

Q Now, the signature-match requirement predated Senate
Bill 1; correct?

A I believe so.

Q Okay. And you were talking in the clip about the need
for an opportunity to cure; is that correct?

A Yes.

Q And so I want to go back to Senate Bill 1, the version
that was enacted, Page 46.

A (Complies with request.)

Q Now, you stated in the clip that there was no
opportunity to cure a mismatched signature; is that correct?

A Yes.

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Q And you also, I believe, stated that there was no
opportunity to correct a carrier envelope that did not have a

Signature; is that correct?

A Yes.
Q And so prior to Senate Bill 1, there was no way to
cure -- or for a voter to cure a mismatched or omitted

Signature; is that correct?

A Yes.

Q And so let's look at Page 46, Section 5.12, which
amends Section 87.0411. Do you see that?

A (Reviewing. )

Q Towards the bottom of the page, starting on Line 16.

A Okay. 5.12?

Q 5.14. You're on the wrong page. Oh, we can -- let’s

do 5.12. That's on Page 43.

A Okay.

Q Opportunity to Correct Defect, which amends Section
87.0271.

A Okay.

Q And so this is talking about the signature-
verification committee; correct?

A Yes.

Q And it says: This section applies to an early-voting
ballot voted by mail: One, for which the voter did not sign the

carrier-envelope certificate; two, for which it cannot be

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immediately determined whether the signature on the carrier
envelope is that of the voter; three, missing any required
Statement of residence; four, missing information or containing
incorrect information required under Section 84.002 or Section
86.002; or five, containing incomplete information with respect
to a witness. Did I read that correctly?

A Yes.

Q Okay. And so, if we continue, it says: Not later
than the second business day after a signature-verification
committee discovers a defect described by Subsection A and
before the committee decides whether to accept or reject a
timely delivered ballot under Section 87.08 -- 027. The
committee shall, one, determine if it would be possible for the
voter to correct the defect and return the carrier envelope
before the time the polls are required to close on election day;
and, two, return the carrier envelope to the voter by mail if
the committee determines that it would be possible for the voter
to correct the defect and return the carrier envelope before the
time the poles are required to close on election day. Did I
read that correctly?

A Yes.

Q And so then the rest of this talks about what the
Signature-verification committee should do to provide notice to
the voter; is that correct?

A Yes.

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Q And so it says that: The committee may notify the
voter of the defect by telephone or E-mail and inform the voter
that the voter may request to have the voter’s application to
vote by mail canceled in the matter described by Section 84.032
or come to the early-voting clerk’s office in person not later
than the sixth day after election day to correct the defect.
Did I read that correctly?

A Yes.

Q And so this provides a opportunity to cure certain
defects on carrier envelopes; is that correct?

A Yes.

Q And among the defects that it allows to be cured is

the mismatched signature or the failure to include a signature;

correct?
A Yes.
Q And so your concern that was voiced in the filibuster

was addressed to a degree in the final version of Senate Bill 1;
is that correct? Regarding the opportunity to cure a mismatched
Signature.

A Well, and, again, this issue had been brought up other
times by Senate Democrats.

Q And so you said it was brought up multiple times by
Senate Democrats; is that correct?

A Yes.

Q And it was ultimately adopted into the final version

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of Senate Bill 1; correct?

A After being advocated for by -- on multiple occasions
by Senate Democrats.

Q So after it was advocated multiple times by Senate
Democrats, the addition of a cure process was added to the final
version of Senate Bill 1; correct?

A Yes.

Q And I want to look at Section 5.13.

A What page?

Q 45. It's the one right immediately after.

A (Reviewing.) Okay.

Q And so it's actually -- so this is to show you at

Section 5.13, which amends Section 87.041 of the election code.

A Uh-huh.

Q And so let's look at Subsection D1, which is on the
next page, 46.

A (Complies with request.)

Q And Section D1 states: If a voter provides the
information required under Section 86.002(g) and identifies the
same voter identified on the voter's application for voter
registration under Section 13.002(c) (8), the signature on the
ballot application and on the carrier-envelope certificate shall
be presumed to be the signatures of the voter. Did I read that

correctly?

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A Yes.
Q And so Senate Bill 1 also added a presumption in favor

of the voter that the signature would be a match; is that
correct?
A Yes.
Q So I'm going to introduce Exhibit 28.
MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you kindly.
BY MS. HUNKER (resuming) :
Q Do you have the document in front of you?
A Yes.

Q Okay. And so is this your Twitter handle, Carol For

Texas?
A Yes.
Q And so this is a tweet that you would have sent out on

August 11th, 2021; correct?

A Yes.

Q And then it says: For the third time, TX Leg.
Republicans are attempting to enact deliberate voting barriers
to silence Texans’ voices. Anti-voter SB1 is likely to be on

the Texas Senate Floor today; tune in at 9 a.m.

A Right.

Q Did I read that correctly?

A Yes.

Q And then there’s also a -- a diagram and photo

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attached to this tweet; correct?

A Uh-huh.

Q And so, because of its size, I included a blow-up --
blown-up version of that on the next page.

A Okay.

Q And so I want to look at where you say, Easier to
intimidate, your fourth provision. It says --

A Uh-huh.

Q -- Creates excessive criminal penalties for honest
mistakes by community members serving as poll workers and

assistants. Did I read that correctly?

A Yes.
Q And so can you tell me what you meant there?
A Well, it seemed like there was a lot of burden put on

the poll workers and assistants and making it easy for poll
watchers to file complaints on poll workers, so that's -- I
mean, obviously, you know, you can’t go into a full explanation
here. I'm making bullet points. So that was -- that was one of
my concerns.

Q All right. And so it had to do with the criminal
liability that could come if a poll worker interfered with a
poll watcher; is that correct? Is that a fair assessment or...?

A Say that again now.

Q Did this point have to do with the criminal liability

a poll worker would face --

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A Uh-huh.
Q -- for interfering with a poll watcher?
A Possibly.
Q Okay. So I want to turn -- this is going back to

Senate Bill 7.
Exhibit 22?

Yes.

A

Q

A Okay.
Q Page 13.

A (Reviewing.) Okay.

Q And you’1l see Subsection -- I’m sorry -- 3 -- Section

3.04, which amends Section 33.061 of the election code. Do you

see that?
A Yes.
Q And it says: An offense under Subsection A includes

an action taken to distance or obstruct the view of a watcher in
any way that makes observation reasonably ineffective. Did I
read that correctly?

A Yes.

Q And so was this one of the provisions that you were
referring to when you were saying, Creates excessive criminal
penalties for honest mistakes by community members serving as
poll workers and assistants?

A Yeah, one of them.

Q Okay. And so let's compare that version with the one

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on Senate Bill 1, and that's going to be on Page 29 of the
enrolled version.
A (Reviewing. )
THE WITNESS: Wait. Which one of these?
MR. GOLANDO: It's the enrolled version.
MS. HUNKER: I believe Exhibit 25.
BY THE WITNESS (resuming) :
A Okay. Okay. Where on Page 29?
Q We're going to be looking at the top, where it says,

Section 4.09 --

A Okay.

Q -- which amends Section 33.061(a) --

A Okay.

Q -- of the election code. And so this used -- looks

more at the full Subsection A, and it reads: A person commits
an offense if the person serves in an official capacity at a
location at which the presence of watchers is authorized and
knowingly prevents a watcher from observing an activity or
procedure a person knows the watcher is entitled to observe,
including by taking any action to obstruct the view of a watcher
or distance the watcher from the activity or procedure to be
observed in a manner that would make the observation not
reasonably effective. Did I read that correctly?

A Yes.

Q Okay. And so would you agree with me that

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Section 33.061(a) of the election code had already stated that,
A person commits an offense if the person serves in an official
Capacity at a location at which the presence of a watcher is
authorized and knowingly prevents the watcher from observing an
activity the watcher is entitled to observe, based on the
language that’s --

A Based on the language, yes.

Q Okay. And so that -- the offense preexisted Senate
Bill 1; correct?

A Yes.

Q Okay. Now, if we look at the difference between
Senate Bill 7 and Senate Bill 1 --

A Okay.

Q -- we see that in Senate Bill 1, it includes the
phrase, The person knows the watcher is entitled to observe.

A Yes.

Q Do you see that?

A Yes.

Q And so this knowing requirement is not in the version
for Senate Bill 7; is that correct?

A Right.

Q And so Senate Bill 1 adds the requirement that the
poll worker know that they are obstructing the poll watcher and
engaging -- from them -- from engaging in the activities.

A Say that again.

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Q Let me rephrase.
A Uh-huh.
Q And so Senate Bill 1 --
A Uh-huh.
Q -- added the requirement --
A Uh-huh.
Q -- that a person know that they are obstructing what a

poll watcher is entitled to observe; is that correct?

A Yes.
Q And so it adds a mens rea requirement; is that
correct?

MR. GOLANDO: Objection, to the extent it calls
for a legal conclusion. I'm sorry. Restate it.
MS. HUNKER: Yeah.
BY MS. HUNKER (resuming) :
Q It requires that a person have a certain state of
mind; is that correct?
MR. GOLANDO: Same objection.
BY THE WITNESS (resuming) :

A T don't know.

Q Okay.
A Yeah.
Q Would you agree that this somewhat addresses your

concern that Senate Bill 1 would create excessive criminal

penalties for honest mistakes by community members serving as

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poll workers and assistants?

A Somewhat. And, again, there's -- there’s a pattern
here. You know, these issues had been brought up multiple times
and then in a 15-hour filibuster, so it seemed like a lot of

these things, we had to keep pushing --

Q Uh-huh.
A -- many -- there had to be many attempts to convince.
Q And so after many attempts of attempting to convince

Senate Republicans and House Republicans to add this protective
language, and it sounds like after including it in your
filibuster, Senate Republicans did approve of language that
addressed in part your concern that Senate Bill 1 would create

excessive criminal penalties for honest mistakes by community

members?
A After many exhausting attempts, yes.
Q And you can put this document aside.
A (Complies with request.)

MR. GOLANDO: ‘Thank you.
THE WITNESS: Uh-huh.

BY MS. HUNKER (resuming) :

Q And so let's go back to Exhibit 2. It's the --
A Journal .

Q -- journal.

A Okay.

Q And we're going to be turning to Page 56.

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A (Reviewing.) Okay.
Q And, actually, it might be easier if we went to your

question ahead of time, so let's turn quickly to Page 55 and add

that into the record as well.

A Uh-huh.

Q So you say: So in March, I noted that we were --

A Wait a minute. (Reviewing.) Okay. Go ahead.

Q So you say: So in March, I noted that League of Women

Voters, NAACP, MALDEF, LULAC, ACLU were all opposed to this bill
and all of these organizations still oppose this bill. Are you
aware of that? Senator Hew (ph) [sic] replies: Well, Senator,
I know that some of the suggestions made by some of those groups
are reflected in the conference committee report. Senator
Blanco and I were talking about cameras and whether poll
watchers would have cameras. That has been removed from the
bill, and as, I think, a number of the groups you mentioned
testified against that provision, and so you know how the
process works. At every step, the bills hopefully get better
based on input, based on criticisms we've heard from groups all
across the spectrum. Did I read that correctly?

A Yes.

Q And so in this exchange, Senator Hughes states that
they had received opposition from League of Women Voters, NAACP,
MALDEF, LULAC and ACLU about whether poll watchers would be

allowed to take cameras with them to polling places; is that

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correct?
A Well, he says some of the suggestions and some of the

groups, so I wouldn't say it was all of them.

Q Would you agree that he’s stating that some of these
groups have brought up opposition to Senate Bill 7 in part
because of the provision that would have allowed cameras to be
taken inside polling places?

A Yes.

Q Okay. And he says that that had been removed from the
bill; is that correct?

A Yes, and, again, after several times the Democrats
brought up the issue of the cameras. So, again, the -- the
pattern continues where we had to keep advocating on many
occasions for certain things.

Q And was this one of the provisions that you also

objected to in Senate Bill 7?

A Yes.

Q And did you object to its inclusion in Senate Bill 1?
A Yes.

Q Okay. And did you communicate that objection to

Senator Hughes and other Texas Republicans?

A It was communicated by -- by many senators.

Q And so that provision was ultimately left out of
Senate Bill 1; correct?

A Yes. Again, after many attempts.

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A (Complies with request.)
Q Specifically, we're going to go towards the bottom,

the last statement you had given on this page. Do you see --

A Okay.

Q -- where it says Section 2?

A Yes.

Q Okay. So it reads: Senator Alvarado, Section 2 of

the Voting Rights Act, this is what really concerns me because
we -- every time the legislature passes something to do with
elections and voting, it’s not making it easier and more
accessible. Do you know that I have filed bills numerous times
for online voter registration just to be able to register
online? Are you aware of that? Did I read that correctly?

A Yes.

Q Senator Hughes responds: Senator, I am, and
Senator Buckingham also had an online voter registration bill
this session, and those provisions were in Senate Bill 7 as it
left the Senate, and so that issue has been discussed quite a
bit, and as you know, if we’re talking about making it easier to
vote, Senate Bill 7, the conference committee report before us
and the version that left here, for the first time says that in
early voting in Texas, if you’re in line when the polls close,
you get to vote no matter how long it takes. Also says you're
going to have a paperback for electronic voting. Did I read

that correctly?

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A Yes.
Q And so this is in reference to the legislation you had

mentioned earlier in our deposition; correct?

A Uh-huh, yes.

Q Okay. And is this accurate that when Senate Bill 7
passed the Senate, it did include a provision regarding online
voter registration?

A It didn't reflect the online voter registration --

straight-up online voter registration like my bill that I'd been

filing.

Q Did it include a variation of it?

A It -- it had some form of being able to register
online.

Q Okay. And do you know how that provision got removed

from Senate Bill 7?
A No.
Q All right. So I want to look at Senate Bill 1,
specifically Page 6.
MR. GOLANDO: This is the enrolled version?
MS. HUNKER: This is the enrolled version.
BY THE WITNESS (resuming) :
A Oh, I'm sorry. What page?
Q Page 6. I think we can put the engrossed version
aside. I don’t believe I have any more references to it.

MR. GOLANDO: Thank you very kindly.

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BY THE WITNESS (resuming) :

A (Reviewing.) Okay.

Q And so, looking at Section 2.03, which amends
Section 15.021 -- do you see that? On Page 6, Line 2.

A Yes.

Q Okay. We're going to look at Subsection D, which is
on Line 11. It reads: A voter -- and then it crosses out --
who continues to reside in the county in which the voter is
registered may correct information under this section by digital
transmission of the information under a program administered by
the secretary of state and the Department of Information
Resources. Did I read that correctly?

A Yes.

Q And so by removing the language, Who continues to
reside in the county in which the voter is registered, that
means a voter may correct their information online regardless of
the circumstances as long as they’re registered; correct?

A Yes.

Q And so it while it will not complete online electronic
registration, it does provide some form of voter registration
for -- for individuals who want to correct their registration
records; is that correct?

A I -- I don't see it that way.

Q How do you see it?

A I mean, it’s just correcting information. It doesn't

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mean they are registering online.

Q And so would this include voters, let’s say, who move
from one place to another?

A Possibly.

Q Okay.

A But they could be correcting anything, a misspelling
of their name or something, a digit that's wrong in the address.
Q Uh-huh. Would you consider it an improvement that

voters would be able to correct their information online as
opposed to doing it through mail?
A How fast? It’s barely.
Q Is it an improvement?
A Barely an improvement.
Q So I'm going to pull up our next exhibit, which is 29.
MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
THE WITNESS: Thanks.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?
A Yes.
Q And this is a tweet that was sent from your Twitter

account; correct?
A Yes.
Q And it was on August 11th, 2022.

A Yes.

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of ID or driver's license on one -- on one piece of -- one
document and maybe not the other.

Q And so did you look at the different ways that a voter
could update their voter-registration file?

A No, not at that time.

Q Okay. And are you aware that Senate Bill 1 provides
for multiple avenues by which a voter may update their
voter-registration record to include ID numbers?

A Yes. I think that's what you were trying to refer to
as online voter registration.

Q That's one -- one way. If you want, we can -- let me
look at the -- so I'm going to introduce another exhibit.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: ‘Thank you.
THE WITNESS: Thanks.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?
A Yes.
Q And so this says: Texas Secretary of State

John B. Scott on top; correct?

A Right.

Q And then it also says Election Advisory Number
2022-08; is that correct?

A Yes.

Q With the date of January 28, 2022.

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A Yes.
Q And the subject is, New Law, Senate Bill 1,
Opportunity to Correct Defects On Application for a Ballot By

Mail and Carrier Envelope. Did I read that correctly?

A Yes.
Q And were you aware of what election advisory is?
A No.

Q Okay. I will represent to you that election
advisories are the way the secretary of state communicates
interpretation information regarding counties’ responsibilities
under the election code. Do you have any reason to doubt or

object to my description --

A No.
Q -- or representation?
A No.

Q Okay. Now, let's look at Page 3, which is Opportunity
to Correct Rejection of ABBM.

A Okay.

Q Well, actually, before we do that, let's talk a little
bit just about what the requirements of Senate bill 1 is with
respect to voter ID numbers. And so if we look at Page 1 where
it says, New Requirements for Application to Vote By Mail --

A Uh-huh.

Q -- you'll see it says: As amended by Senate Bill 1,

Section 84.002 of the election code provides that a voter who

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seeks to vote by mail must include one of the following on their
ABBM, that is the number of applicants driver's license,
election-identification certificate or personal-identification
card issued by the department of public safety, the last four
digits of the applicant’s Social Security number if the
applicant has not been issued a DPS number or a statement that
the applicant has not been issued one of these numbers. Did I
read that correctly?

A Yes.

Q And so a person who is applying to vote by mail can
provide any one of these numbers and have other application
accepted so long as there's a match; is that correct?

A Yes.

Q Okay. And now let's talk about the opportunity to
correct the rejection of an ABBM.

A Uh-huh.

Q And so this says on Page 3: As described above, if
the early-voting clerk rejects an ABBM because the voter failed
to provide any of the required information or the information
included on the ABBM does not match the voter's
voter-registration record, the early-voting clerk must provide
the voter with notice of the rejection in accordance with
Section 86.001; is that correct?

A Yes.

Q And then it says: The notice must include information

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explaining how to correct the defect by using the online
ballot-by-mail tracker available at www.votetexas.gov. Is that
correct?

A Yes.

Q And then it says: If the -- if the applicant corrects
the missing incorrect information by validating the required
information through the ballot-by-mail tracker and this
information subsequently identifies the voter identified on the
applicant’s voter-registration record, the early-voting clerk

shall provide a ballot to the applicant. Did I read that

correctly?
A Yes.
Q And let’s move on to the next paragraph where it says:

If the early-voting clerk rejects an ABBM because the voter's
voter record does not contain any of the personal-identification
number provided on the ABBM, the clerk must offer the voter an
opportunity to correct this defect. The notice must include
instructions on how the voter can update their
voter-registration record to include one or more of the required
identification numbers by submitting a voter-registration
application to the registrar or by validating their personal
identification numbers on Texas.gov. Did I read that correctly?

A Yes.

Q Okay. Were you aware that a voter can correct their

information via the online ballot-by-mail tracker?

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A Yes.
Q And were you aware that a voter can also update their

information by submitting a updated voter-registration form?

A Yes.

Q Are you aware that once the voter updates -- submits
the voter-registration form with the new information, that
information will forever be in their registration file?

A Yes.

Q And so, for a voter who had their application to vote
by mail rejected because the number was not in their file --

A Uh-huh.

Q -- that number would be in their file for subsequent
elections. Are you aware of that?

A I am now.

Q Are you aware that the secretary of state's office
conducted a syncing process with the department of public safety
in order to add additional Social Security numbers and driver
license numbers to voter-registration records?

A No, I wasn’t.

Q Are you aware that after --

A When did that occur?

Q That would have occurred in December of 2021.

A Okay.

Q Were you aware that after the secretary of state

conducted that process, the number of individuals who did not

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A Right, I don't recall.
Q Now, the 19 percent, do you know if that includes the
number of individuals who were later able to cure the defect in

> O P

Q
regarding
A

Q

A
Q
A
Q
correct?
A
Q
A
Q

method of

their ballot?

I don't know.

Now, you had, I believe, discussed on the floor --
Uh-huh.

-- during your filibuster some of your concerns
the signature-match requirement; is that right?
Yes.

Okay. I believe you said that individuals with

disabilities, that their signature can change --

Yes.
-- 1s that correct?
Yes.

And so one of your concerns is that a voter would have

their signature rejected because their disability would cause

their signature not to be the same election to election; is that

Right.
A voter-ID number does not change; is that correct?
Right.

And so do you think some voters with disabilities

would find it easier to include their voter-ID number as a

identification as opposed to signature match?

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A Uh-huh. Okay.

Q All right. And so this is a document -- as you can
see from the bottom, it says State-087323 that was disclosed in
this case, and if you see on top, it’s from the office of
Attorney General of Texas, election-fraud violations,

prosecutions result. Do you see that on top?

A Yes.

Q Have you seen this document before?

A No.

Q Were you aware that this document was circulated among

members of the legislature?

A I don't recall. I'm not aware.

Q Were you aware that the document was referred to
during committee testimony?

A In the Senate -- in state affairs in the Senate?

Q I believe it was in the House and also used in the
Senate as well.

A I don't recall.

Q Okay. And so you can see that this is prosecutions
resolved from the attorney general's office; correct?

A Yes.

Q And so then it lists the county, the defendant and the
allegation; is that right?

A Yes.

Q And the it also talks about the election that was

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involved; is that right?

A Right.

Q And then it talks about the case-number description as
well as the number of defendants charged and the charges that
were brought; is that right?

A Yes.

Q Okay. And we can -- I also want to show that on the
bottom it says information as of April 20th, 2022. Do you see
that?

A Yes.

Q And so this document is only as accurate as
April 20, 2022. Does that make sense?

A Yes.

Q Okay. And so if we look through the document, we'll
see different types of offenses, and so let's turn to Page 5.

A (Complies with request.)

Q You can see that there are, on the bottom, in Cameron
County, vote harvesting, mail-ballot fraud, assistance fraud,
influencing voter. Do you see that?

A Yes.

Q And do you see that it talks about the different
charges that were brought; correct?

A Yes.

Q And we can look elsewhere. If you turn to Page 6,

we'll see that there’s one from Harris County, forgery and

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A

Q
A

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Q

A

Q
A

Q

A

Q

tampering with petition of candidacy from the 2014 election; is

that correct?

Hold on. What page?

Page 6.

(Reviewing.) Okay.

And if we turn to Page 9 and then going into 10 --

Wait a minute. Okay. Say that Harris County -- so

there's one charge?

On that particular one, yes.

Out of how many votes cast?

I'm just talking about the incidences themselves.
Okay.

And so if we turn to Page 9 and 10 --

Okay.

-- do you see a number of charges brought in different

actions in Harris County?

(Reviewing. )
The entire Page 10 is --
Oh, I'm sorry, 10. (Reviewing. )

And so this -- the first one is a false statement on

registration application, illegal voting, tampering with
government records, election fraud, false registration address.

Did I read that correctly?

Yes.

And then if you can see, there’s a similar description

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for each of the entries on this page.

A Yes.
Q And then you can see that each -- each has a number of
defendants charged or offenses charged and there’s -- that’s

listed as well.

A (Reviewing. )

Q You're aware that an individual who conducts illegal
election activity can affect multiple ballots cast; correct?

A Yes.

Q Do you know how many jurisdictions in Texas have less

than 10,000 people?

A No.

Q Any jurisdictions in Texas have less than a thousand?

A No.

Q Would you agree with me that election fraud has the
most likely -- is most likely to effect the results in a small
election?

A I -- I don't know.

Q Would you agree with me that Texas has a lot of small
jurisdictions?
A Yes.

Q Would you agree with me that the Attorney General of
Texas has brought charges relating to voter fraud in Harris
County?

A It appears so according to this document.

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Q And would you agree with me that the Texas Attorney
General has brought charges against -- for illegal voting or
election fraud in other counties as well?

A According to this, yes.

Q Are you aware that election -- election-fraud
prosecutions are also brought by county district attorneys?

A Yes.

Q Do you know the amount of charges that are brought by
these district attorneys each year?

A No.

Q I also want to turn to Page 30 -- sorry -- Exhibit 32.

A (Complies with request.)

Q And you'll see that there’s a caption, Lupe v. Texas.
Do you see that?

A Yes.

Q And do you see where it says, United States’ Responses
to Texas’ First Set of RFPs-Privilege Log?

A Yes.

Q And I want to look towards the privilege basis that's
brought for some of these documents.

A Okay.

Q And do you see where -- the third entry down, it says,
Complaint alleging voter fraud via text message.

A Yes.

Q And do you see the next one down says, Voicemail

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complaint alleging voter fraud in Texas?

A Yes.

Q And do you see how there are other entries here that
also state that there were complaints received by the United
States regarding election fraud in Texas?

A Yes.

Q We can put these two documents aside. I'm going to
introduce Exhibit 33.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.

BY MS. HUNKER (resuming) :

Q Do you have the exhibit in front of you?
A Yes.

Q Do you see it says House Journal?

A Yes.

Q And do you see this is from Monday, April 23rd, 2007;
is that correct?

A Yes.

Q And so I'm going to turn -- ask you to turn the page
to 2224, and I will represent to you that I’ve only included the
portions of this House Journal that were relevant to our
deposition for today. And so do you see where it says
Representative Anchia?

A Yes.

Q Do you know who Representative Anchia is?

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A Yes.
Q And he’s a Democrat; correct?
A Yes.
Q And did you work with him when you were in the Texas
House?
A Yes. And just to be clear, I was not in the House

during this time, during 2007.

Q And I want to go to the third paragraph, where it
starts with, Furthermore.

A Okay.

Q Actually, let's do the whole paragraph. lLet’s start
with, We know. It says: We know that there's no evidence of
it, but if this body wants to create an opportunity for voter
fraud, then vote for HB218. In fact, that Section 3 Part A of 2
-- HB218 creates a wonderful opportunity for people at a low
cost to be able to impersonate someone else by saying that this
is a valid employee ID and no poll worker, no election worker,
no election judge will be able to discern a ballot from invalid
ID. Did I read that correctly?

A Yes.

Q Furthermore, there's another wonderful loophole in
this bill that creates a glaring weakness: It essentially
allows vote by mail to continue without voter identification.
Vote by mail, as we know, is the greatest source of fraud --

voter fraud in this state. In fact, all of the prosecutions by

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the attorney general -- I shouldn't say all, but a great
majority of the prosecutions by the attorney general occur with
request to vote by mail. Did I read that correctly?

A Yes.

Q Would you agree with me that in this statement on the
floor, Representative Anchia said that vote by mail is the
greatest source of voter fraud in this state?

A According to what I'm reading, that -- that's what he
said.

Q Okay. And would you agree with me that he is talking
about fraud in vote-by-mail context -- sorry. Let me rephrase
that. Would you agree with me that he is talking about fraud
through vote by mail in the context of photo ID?

MR. GOLANDO: Objection, form.
BY THE WITNESS (resuming) :

A I don't know.

Q Okay. Would you agree with me that he's comparing
vote by mail from in-person voting with respect to photo IDs?

MR. GOLANDO: Same objection.
BY THE WITNESS (resuming) :

A I don't know.

Q Would you agree with me that he says that the bill
would create a wonderful loophole because it allows vote by mail
to continue without photo identification?

A I'm not sure.

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Q Okay. Would you agree that he says there's another
wonderful loophole in this bill that creates a glaring weakness:

It essentially allows vote by mail to continue without photo

identification?

A (Reviewing.) That's what I'm reading.

Q And let’s go to introduce the next exhibit, which is
34,

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
BY MS. HUNKER (resuming) :
Q And you see that this is a letter from Judith

Zaffirini, State Senator, District 21?

A Yes.
Q And Senator Zaffirini is a Democrat; correct?
A Yes.

Q And this letter was sent on December 3rd, 2018; is
that correct?

A Yes.

Q And it's directed to Senator Hughes, chair of the
select committee on election security.

A Yes.

Q Okay. I want to look at page -- Paragraph 1 where it
says, This letter, however, let me know when you've arrived.

A Yes, I have it.

Q Okay. It reads: This letter however is to record my

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concerns regarding the need to, one, provide concrete
recommendations to address mail-in ballot fraud. Did I read
that correctly?

A Yes.

Q And now let’s look at the next paragraph: During the
last several sessions, many legislators have focused on voter-ID
laws intended to prevent in-person voter fraud, but not on [sic]
increasingly serious problem of mail-in ballot fraud. Our
committee heard troubling testimony regarding the state of

election security related to the latter. Did I read that

correctly?
A Yes.
Q It continues: The report’s recommendation that the

legislature needs to find a solution to the vexing issue of
mail-in ballot fraud. At nursing homes and assisted-living
facilities is a good start, but we must take all possible steps
to address voting irregularities caused by fraudulent mail-in
ballots. Did I read that correctly?

A Yes.

Q And so would you agree that in this letter she states
that the legislature needs to provide concrete recommendations
to address mail-in ballot fraud?

A (Reviewing. )

Q Based on the first paragraph.

A Well, if the -- that’s what it reads here.

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Q Would you agree with me that she said that:
Legislators are focused on voter-ID laws intended to prevent
in-person voter fraud, but not on the increasing serious problem
of mail-in ballot fraud.

A That's what I read.

Q And you’d agree that she said that she heard troubling
testimony regarding the state of election security related to
mail-in ballot fraud.

A That's what it reads here.

Q The voter-ID number requirement introduces a voting --
let me take -- let rephrase that. The requirement that a voter
provide either their Social Security number or driver's license
or voter ID on their mail-in ballot adds a voter-ID component to
Mail-in ballots; is that correct?

A I suppose so.

Q Would you agree that it addresses the concern raised
by Senator Zaffirini that legislators are focused on voter-ID
laws intended to prevent in-person voter fraud, but not on the
increasing serious problem of mail-in ballot fraud?

A I -- I don't know. I can't say.

Q We can put that document aside. So we had discussed

earlier about some of your concerns regarding poll watchers;

correct?
A Yes.
Q And do you have concerns regarding poll watchers with

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Q Now, poll watchers are selected by political parties

or campaigns; is that correct?

A Yes.
Q And have [sic] your campaign ever utilized a poll
watcher?

A A long time ago.

Q So at some point your campaign had volunteer poll
watchers.

A Yes.

Q And are you aware of other Texas Democrats who use

poll watchers as part of their campaign?

A Yeah, in various campaigns, and -- but this was a long
time ago.
Q And are you aware that the Texas Democrats’ website

asked for volunteers for poll watchers?

A No, I don't remember. When -- when is that? When was
that in effect?

Q I'll bring it up. I'm going to introduce Exhibit

Number 35. Do you have the document in front of you?

A Yes.

Q And do you see on the top where it says Texas
Democrats?

A Yes.

Q And it says, Sign up to help Texas -- to help Texas

Democrats get elected.

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A Yes.
Q And that it includes a space for contact
information --
A Well --
Q -- is that correct?
A Yes.
Q And if you look at the back, you'll see information

towards the bottom that says it’s copyrighted, 2021, Texas
Democratic Party, Political Ad.

A Yes.

Q Okay. And it says it’s paid by the Texas Democratic
Party, www.tx --

A Yes.

Q Okay.

A What is the date of this? Do you know? When was
this --

Q So I will represent to you that I pulled this from the

Texas Democratic Party website yesterday.

A Okay.

Q Do you have any reason to doubt my representation?
A No.

Q And so if you look at where it says volunteer

information on Page 2 --
A Uh-huh.

Q -- it asks: Are you interested in serving as a poll

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watcher during the 2022 general election.

A Yes.

Q And so would you agree with me that on the Texas
Democrat website, there is an option asking for volunteers to be
a poll watcher during the 2022 general election?

A Yes.

Q And we can put that aside. And you had heard that
there was a controversy in Travis County regarding poll watchers
being sequestered from the central counting location.

A I'm not aware.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
BY MS. HUNKER (resuming) :

Q And so this is Exhibit Number 36.

A Okay.

Q Do you have it in front of you?

A Yes.

Q And so this is a news article, as you can see, from
KXN.com, and it reads: Second criminal investigation into
Travis County clerk requested over November election. Did I
read that correctly?

A Yes.

Q And if you look at the second paragraph, it reads:
After review of the submitted documentation, we believe

information regarding offenses warrant a submission for criminal

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Q Now, you agree with me that this occurred before
Senate Bill 1 would have taken effect; correct?

A Let's see. This was -- yes. Yes.

Q And so it was a Class A misdemeanor to obstruct a poll
watcher before Senate Bill 1 took effect; correct?

A Okay. Yes.

Q And if we turn the page, we can see a black-and-white
photo, and I am going to give to you as Exhibit 37 a blown-up
version of that photo.

A Okay.

Q And you agree with me that this is the same photo as
the one in the news article; correct?

A Yes.

Q Okay. And you can see in the photo that the poll
watchers are -- are in a room sequestered; correct?

A I just see that they’re in a room.

Q Okay. And you can see that they are looking through a

window.
A I see one person looking through a window.
Q And so let’s read what’s described in the news

article. It says: Photographic evidence collected by Fleck
during her poll watcher assignment inside the counting station
shows poll watchers sequestered inside a media room. The room
is separated from the counting station where election workers

were tabulating and counting ballots. Did I read that

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Q Do you have the exhibit in front of you?
A Yes.
Q Okay. And do you see where it says Election Advisory
2022-09?
A Yes.

Q And that this would have been issued February 4th,

A Yes.

Q And the subject of this is, New Law, Changes to Poll
Watcher Requirements under House Bill 3107 and Senate Bill 1; is
that correct?

A Yes.

Q And would you agree with me that this was issued by
the secretary of state?

A Yes.

Q And so I want to turn first to where it says, Purpose
and duty of poll watchers.

A Okay.

Q It says: Section 33.0015 of the code provides that it
is the intent of the legislature that poll watchers, duly
accepted for service under Chapter 33, be allowed to observe and
report on irregularities in the conduct of any election but may
not interfere in the orderly conduct of an election. Did I read
that correctly?

A Yes.

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Q It continues: A poll watcher appointed under
Chapter 33 shall observe without obstructing the conduct of an
election and can call to the attention of an election officer
any observed or suspected irregularity or violation of law in
the conduct of the election. Did I read that correctly?

A You did.

Q And do you agree with this description of what a poll
watcher should be doing?

A Say that again.

Q Do you agree with this description of what a poll

watcher’s purpose and duty should be?

A To some extent

Q To what extent?

A Let’s see. Well, that they’re to observe and report.
Q And so you'd agree with me that the secretary of state

has stated that poll watchers are allowed to observe and report
on irregularities, but they may not intervene in the orderly
conduct of an election.

A Right.

Q And you would agree with me that the secretary of
State advised this after the passage and SB1 taking effect.

A Yes.

Q Now, we talked a little bit about the training
requirements for poll watchers, so I'm going to skip that --

A Yes.

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Q -- section and go to 04, poll watchers. It says:
Before accepting a watcher, an election officer shall require
the watcher to take the following oath: I swear or affirm that
I will not disrupt the voting process or harass -- harass voters
in the discharge of my duties. Did I read that correctly?

A Yes.

Q And then it continues: This oath has been added to
the certificate of appointment that the poll watcher presents
and signs in the presence of the presiding judge. Did I read
that correctly?

A Yes.

Q Would you agree with me that this oath provision was

added by Senate Bill 1?

A Yes.

Q Do you consider this to be a good provision that was
added?

A It's a provision that -- again, that we advocated for
some reform and -- or some changes to be made on multiple
occasions.

Q Okay. And so this was a provision that the Texas

Democrats had advocated for on multiple occasions; is that
correct?

A Among others --

Q And this --

A -- multiple times.

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Q And this provision requiring an oath for poll watchers

was added to Senate Bill 1; correct?

A After multiple and multiple exhausting discussions.
Q Okay. And so I want to flip the page --

A (Complies with request.)

Q -- and it says: While a poll watcher may be present

if an election worker is assisting a voter, a poll watcher may
not be present at the voting station when a voter is preparing
the voter’s ballot or is being assisted by a person of a voter’s
choice, including by a person also serving as an interpreter at
the voting station. Did I read that correctly?

A Yes.

Q And so according to this, a poll watcher is not
allowed to observe a voter when preparing their ballot or when
they’ re being assisted by a person of their choice; is that
correct?

A Yes, but it wasn't the case in the original bill.

This was a very, very significant point of contention for many
of us.

Q And so was this also a provision that was advocated by
Texas Democrats, including yourself?

A It was advocated by -- by many members quite a bit.
There was a lot of convincing -- I mean there was a lot of
discussion about it -- about this particular part.

Q Okay. Now, this provision, I should say, that a poll

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watcher may not be present at the voting station when a voting
-- voter is preparing the ballot or being assisted by a person
of their choice --

A Uh-huh.

Q -- that preexisted Senate Bill 1; is that right?

A Say that again.

Q So we can look at this -- if you want, I can bring up
the election code, but to clarify, this provision did -- that
the poll watcher may not be present at the voting station when a
voter is preparing the voter’s ballot or is being assisted by a

person of the voter’s choice --

A Uh-huh.

Q -- was already in the election code prior to Senate
Bill 1.

A I believe so.

Q And so your advocacy in this provision was to keep the

provision as it existed; is that correct?

A Yes.

Q And then if we look to the next sentence, it says: A
poll watcher does not have the right to free movement in other
areas of an election code -- in other areas of an election
office that is not being used to -- used for designated
activities. Did I read that correctly?

A Yes.

Q And so under Senate Bill 1, poll watchers are limited

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in their movement in areas that are not being used for
designated activities; is that correct?

A It's -- it’s what was in the -- it’s what preexisted
before, yes.

Q Okay. And if we go back to where it says, Removal of

Poll Watchers, it says --

A Down here on the bottom?

Q Down here on the bottom.

A Uh-huh.

Q -- it says: A presiding judge may not have a poll

watcher removed from a polling place for violating the Texas
Election Code for any other law relating to the conduct of an
election other than a violation of the penal code unless the
violation was observed by an election judge or clerk. Did I
read that correctly?

A Yes.

Q And it says: A presiding judge may call a law
enforcement officer to request that a poll watcher be removed if
the poll watcher commits a breach of the peace or a violation of
law. Did I read that correctly?

A Yes.

So I want to look at Chapter 33 --

A Okay.

COURT REPORTER: (Provides exhibit.)

THE WITNESS: Thank you.

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BY MS. HUNKER (resuming) :
Q -- and we're going to be turning to Page 10 and 11.
MR. GOLANDO: There are no page numbers.
MS. HUNKER: Say what?
MR. GOLANDO: There are no --
THE WITNESS: There are no page numbers.
MS. HUNKER: Oh, I’m sorry.

BY THE WITNESS (resuming) :

A Let’s see. One, two, three, four --
Q We’re going to be turning to where it says Section
33.057.

MR. GOLANDO: 57?

MS. HUNKER: Yes.

THE WITNESS: Okay.
BY MS. HUNKER (resuming) :

Q It's titled, Observing Preparation of Voter's Ballot.

A Okay.
Q Now, it says: A watcher -- if you look at
Subsection B -- may not be present at the voting station when a

voter is preparing the voter’s ballot or being assisted by a
person of the voter’s choice. Correct?

A Yes.

Q And then if we look at the next one down, next
section, it’s Section 33.058, it says: While on duty, a watcher

may not converse with an election officer regarding the election

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except to call attention to irregularity or a violation of law,
converse with a voter or communicate in any manner with a voter
regarding the election. Did I read that correctly?

A Right, yes.

Q And so according to the election code, even under
Senate Bill 1, a poll watcher may not converse with an election
officer regarding the election except to call attention to
irregularity or violation of law; is that correct?

A Yes.

Q And the election code, even under Senate Bill 1, a
poll watcher may not converse with a voter; correct?

A Yes.

Q And according to the election code under -- even under
Senate Bill 1, a poll watcher may not communicate in any manner

with a voter regarding the election; is that correct?

A Yes.

Q Now you can put that aside.

A (Complies with request.)

Q And we're going to be starting -- looking at another

provision of the election code next. Do you see this is Chapter

276 of the election code?

A Yes.

Q And it says, Retaliation Against Voter; correct?
A Yes.

Q And it says: A person commits an offense of

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retaliation against a voter who has voted for or against a
candidate or measure or a voter who has refused to reveal how
the voter voted. The person knowingly harms or threatens the
voter by an unlawful act. Did I read that correctly?

A Yes.

Q And so if you remember when we were looking at the
election advisory for removal of a poll watcher, it says that a
poll watcher may be removed if the poll watcher commits breach
of the peace or a violation of law; correct?

A Yes.

Q And then a violation of the law is knowingly harms or
threatens a voter by [sic] unlawful act; is that correct?

A Yes.

Q And so a poll watcher can be removed if they seek to
knowingly harm or threaten a voter; is that correct?

A Yes.

Q And we can put that aside.

A (Complies with request.)

Q Now, did you have any concerns regarding poll watchers
-- let me take that back. Let me go to the actual language. So
while I’m looking for the particular provision, I'm going to
play a clip from your filibuster and introduce it as an exhibit.

(Video playing.)
BY MS. HUNKER (resuming) :

Q Did you hear that clip?

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A Yes.
Q And that was a clip from your filibuster; correct?
A Yes.

Q And in it, you said that the standard that existed for
poll watchers ahead of time conveniently close you thought was
sufficient; is that correct?

A Yes.

Q Is it your understanding that Senate Bill 1 changed
that particular standard?

A I don't recall.

Q Okay.
A No.
Q Okay. Do you not have an opinion on whether or not

Senate Bill 1 revised or altered that standard?

A No.

Q Okay. When you were voting, in your -- in your
experience, have you ever experienced harassment or intimidation

from a poll watcher?

A No.

Q Are you aware of any individual who has?

A No.

Q Have you heard of any incidents following the

enactment of Senate Bill 1 regarding intimidation or harassment
by poll watchers to voters?

A No.

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Q Have you heard any indication that the number of
incidences of harassment or intimidation of voters went up since
the passage of Senate Bill 1?

A No.

Q I want to quickly talk about voter assistance. You
had mentioned a few times during your filibuster that you were

concerned regarding voting-assistance provisions in SB1; is that

correct?
A Yes.
Q And what exactly were your concerns?
A Well, people that were assisting might not even

knowingly be committing something that could be seen as wrong or

in violation of something.

Q And have you, Since Senate Bill 1's enactment --
A Uh-huh.
Q -- spoken to voters who’ve had problems with attaining

assistance to vote because of Senate Bill 1?

A No.

Q And have you talked to any assistors who were subject
to some sort of either criminal penalty or investigation because
of provisions in Senate Bill 1?

A No.

Q And are you aware of any voter who was unable to vote
because of the assistance provisions in Senate Bill 1?

A No.

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Q Now, you are aware that some of the provisions
regarding assistance in Senate Bill 1 were enjoined by a federal
courts; correct?

A I believe so.

Q I'd like to introduce an exhibit. We're going to be
looking at Page 46, Section D, where it says, Rendering
Assistance to Voters, but before I do, I should probably just

talk a little bit about what the document is.

A Okay.

Q Do you see it says, Qualifying Voters on Election Day,
2022?

A Yes.

Q And it says it’s a handbook for election judges and

clerks; correct?

A Yes.

Q And then it says it was issued by the office of the
Texas Secretary of State Elections Division.

A Yes.

Q And you’ll see on the bottom that there’s a Bates
number. It says State-110976.

A Yes.

Q Did I read that correctly?

A Yes.

Q And are you aware of what the handbook for election

judges and clerks is?

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A Yes. It’s a guide.

Q And so let's look at Section D on Page 46, and if you
look on the top, it says: The person who is to provide
assistance must first taken an oath of assistance administered
by one of the election officers; is that correct?

A Yes.

Q And then if you go to the next -- so two paragraphs
down, it says: In its June 6th order, the district court
enjoined the State of Texas and the secretary of state along
with their employees, agents and successors in office and all
persons acting in concert with them from enforcing Sections

64.031 or 64.0321 of the Texas Election Code. Did I read that

correctly?
A Yes.
Q And it says: The district -- it continues: The

district court also prohibited the enforcement of the portion of
Section 64.034, stating, I will confine my assistants to reading
the ballot to the voter, directing the voter to read the ballot,
marking the voter’s ballot or directing the voter to mark the
ballot. Did I read that correctly?

A Yes.

Q Was this the particular provision within Senate Bill 1
that you were concerned about that it would limit assistance
that voters could obtain?

A Possibly.

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Q Okay. Are you aware of any other provisions offhand

that you thought could have affected a voter’s ability to obtain

assistance?
A Maybe issues dealing with language barriers.
Q Okay.

A Yeah -- yes.

Q And if we go to the next paragraph, it says: The
district court further ordered the State of Texas and the
secretary of state shall revise training and instruction
material for state and county election officials to remove
language that reflects the substance of Sections 64.031, 64.0321

or the portion of 64.034 identified above. Did I read that

correctly?
A Yes.
Q And because this references the sections of the

election code, it might be helpful if we just quickly reference
Senate Bill 1 just so you can see what those are referring to.
And so we're going to be looking at Sections 6.02 and 6.04 of
Senate Bill 1.

A What page did you say?

Q I'm about to tell you. (Reviewing.) 50 -- 52 and

also 51.
A (Reviewing.) Okay.
Q And so specifically if you see Section 6.02, which is

what amends Section 64.031 of the election code --

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A Okay.
Q -- and so the part that was stricken is: A voter is

eligible to receive assistance in marking or reading the ballot
as provided by this chapter if the code -- if the voter cannot
prepare or read the ballot because of.
A Okay. What line are you on? I'm sorry. I lost it.
It's all right. Lines 19 through 27.

Okay.

Q
A
Q I'm just kind of giving --
A Okay.

Q -- a general overview.

A All right.

Q And then the oath provision is Section 6.04, and

that’s on Page 52 --

A Yep.

Q -- and you can see what the oath reads there.

A Okay.

Q And so were these two provisions that were enjoined by

the Court what your principal concern was regarding voter

assistance?
A Yes, some, yes.
Q Okay. And so the fact that these provisions have been

enjoined, they are no longer a concern of yours; is that
correct?

A Yes, these are not a concern.

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Q Okay. Then we can close that, then. One last thing
on the handbook. If you look where it's bolded --

A What page?

Q 46.
A Okay.
Q It says: An eligible voter is entitled to receive

assistance from a person of their choosing so long as that
person is eligible to provide assistance under Section 2.08 of
the Voting Rights Act and that assistance is not limited to
marking or reading the ballot or otherwise limited to conduct
that occurs in the voting booth. Did I read that correctly?

A Yes.

Q Okay. And have you talked to any of the election
officials in Harris County about the implementation of this
particular injunction?

A No.

Q Okay. And have you talked to the election officials
in Harris County about whether or not any of the other

provisions have affected assistants who also serve as

interpreters?
A No.
Q Are you aware of any voter who was unable to secure

the assistance of an interpreter?
A No.

MS. HUNKER: I think this would be a good spot to

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take a break since I’m about to end this section.
THE WITNESS: Okay.
VIDEOGRAPHER: Off the record at 4:06.
(A recess is taken.)
VIDEOGRAPHER: Back on the record at 4:20.
BY MS. HUNKER (resuming) :
Q All right. So I had actually missed over one of the
election advisories I wanted to go over with you and so I’m

going to do that now before we move on to our next subject.

A Okay.

Q And do you have the document in front of you?

A Yes.

Q And do you see how it says, Texas Election Advisory

Number 2022-12?

A Yes.

Q This was issued February 11th, 2022.

A Yes.

Q And it says: Additional procedures regarding
correction of defects on application for ballot by mail or
carrier envelope.

A Yes.

Q Would you agree with my -- agree with my description
that this is an election advisory issued to election officials
from the secretary of state's office regarding additional

procedures for mail-in ballots and carrier envelopes?

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A Yes.
Q Okay. So we're going to turn to Page 2 where it says,

Returning the Carrier Envelope to Voter.

A Uh-huh.

Q It states here: If the early-voting clerk discovers
that the carrier envelope is missing the voter’s signature, has
an incomplete signature, have a missing or incomplete witness or
assistant information or has missing or incorrect
personal-identification information --

A Uh-huh.

Q -- the early-voting clerk may deliver the carrier
envelope in person or by mail to the voter so that the voter may
correct the defect. Did I read that correctly?

A Yes.

Q Were you aware that the early-voting clerk has the
option of returning the carrier envelope to the voter in person?

A No.

Q And if we go to the next paragraph where it says, Upon
receipt, do you see that?

A Next paragraph? (Reviewing.) Oh, yes --

Q Okay.
A -- midway through, uh-huh.
Q It says: Upon receipt of the carrier envelope, the

voter may correct the defect immediately and surrender the

carrier envelope to the early-voting clerk personnel who'd

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return to the clerk's office with a corrected carrier envelope.
Did I read that correctly?

A Yes.

Q Now, were you aware that voters could return their
corrected carrier envelope to the personnel of the early-voting
clerk in person when the early-voting clerk delivered the defect
ballot?

A No.

Q And then it says: Alternatively, the early-voting
worker could leave the carrier envelope in the voter’s
possession and allow the voter to either make the correction on
their own and mail the ballot to the early-voting clerk or
cancel their mail ballot and vote in person. Did I read
correctly?

A Yes.

Q And then if you look at the next paragraph, it reads:
The early-voting clerk may return defective carrier envelopes by
mail under Section 86.011(d) up to the point when the SVC, EVBB
-- or signature-verification committee, early-voting ballot
board -- begins notifying voters of defects by phone or E-mail.
Did I that correctly?

A Yes.

Q Do you know if Harris County will be delivering defect
ballots to voters in person so that they may correct?

A T don't know.

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polls by outside organizations? Could there be multiple
individuals in the car that do not have a pre-existing close
relationship?

A From my experience, it's usually been senior citizens
and they all know each other, they all gather daily, they know
[sic] one another for many years.

Q Do you think Senator Hughes was genuine in his concern
over the lack of privacy in drive-through voting?

A I don't know.

COURT REPORTER: So to clarify the record, the
last clip that you played, was that Exhibit 44?

MS. HUNKER: Yes.

COURT REPORTER: Okay.

MS. HUNKER: And this one will be Exhibit 45.

COURT REPORTER: Gotcha. Okay.

(Video playing.)
BY MS. HUNKER (resuming) :

Q Did you hear that clip?

A Yes.

Q And was this from your filibuster for Senate Bill 1?

A Yes.

Q And I'll repeat the numbers since I know it went
pretty quick.

A Uh-huh.

Q You put down for 24-hour voting it was used by -- 33

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-- 36 percent were Hispanic, 12 percent were African-American, 8
percent Asian; and for drive-through voting, you stated 23
percent were Hispanic, 22 percent were African-American and 8

percent were Asian.

A Uh-huh.

Q My first question for you is where you got the
numbers.

A From Harris County.

Q And so this was from Harris County itself?

A Uh-huh.

Q And do you know how Harris County determined the race

of the individual who --

A I don't.

Q And so you don't know if they obtained the numbers
through an outside source; is that correct?

A I don't know.

Q And you don't know the methodology that was used to
determine the numbers; is that correct?

A I don't know.

Q Okay. Harris County is a minority-majority
district --

A Right.

Q -- county; correct?

A Yes.

Q Now, you have stated that 24-hour voting and

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drive-through voting, that elimination of these practices would

have a disproportionate effect on minorities; is that correct?

A The disabled and seniors.

Q Okay. And were these numbers the basis for that
determination?

A Somewhat, to some extent.

Q And what was the other basis?

A Just hearing about -- knowing the people who had used
either one.

Q Okay. And did you have an -- because Harris County
was the only county to do drive-through --

A Uh-huh.

Q -- and 24-hour voting, you did not have the
opportunity to compare Harris County's numbers with a majority
White county --

Right.

-- exercising the same programs --
Right.

-- is that correct?

Right.

So I want to introduce Exhibit Number 47 --

Oo FP O FP OO PF

COURT REPORTER: 46.
BY MS. HUNKER (resuming) :
Q -- 46, and do you see on top where it says, United

States Census Bureau?

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A Yes.

Q And that this is quick facts from Harris County,

Texas?
A Yes.
Q And so I want to look at the percentages for Black or

African-American alone, which is 20.3 percent. You can see it's

darkened.
A Yes.
Q Okay. And then two lines down, it says, Asian alone,

7.4 percent, and then Hispanic or Latino is 44.4 percent; is
that correct?
A Yes.
Q And so let's add that together.
MR. GOLANDO: These are population numbers?
MS. HUNKER: That's correct.
THE WITNESS: Not voting; right?
MS. HUNKER: That’s correct. I’m doing the
numbers that were provided to me by the US Census.
BY MS. HUNKER (resuming)
Q Now, when I added the numbers together, I got 72.1
percent. Is that what you got?
A Yes.
Q Okay. And if we add the numbers of those who utilized
24-hour voting --

A Uh-huh.

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Q -- the 36 percent, the 12 percent and the 8 percent --
A Right.
Q -- we have 56 percent --
A Right.
Q -- is that correct?
A Yes.
Q And 56 is less than 72.1; correct?
A Right.
Q And so minority voters used 24-hour voting at a rate

that was less than their representation in the population of
Harris County; is that correct?

A Yes.

Q And if we go through drive-through voting and we add
the 23 percent, 22 percent and 8 percent, we get 53 percent; is

that correct?

A Right.

Q And 53 percent is less than 72.1 percent; correct?
A Yes.

Q So based on these numbers, minority voters utilized

drive-through voting at a rate that was less than the

representation of the population; is that correct?

A Yes.
Q What --
A And we did make clear that these are -- these are just

straight-up population numbers --

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Q That’s correct.
A -- not registered voters.
Q And so the number, based on the process of

elimination, about 44 percent of individuals who utilized
24-hour voting would have been -- 44 percent White alone; is

that correct?

A On which one? I'm sorry.

Q So by process of elimination --

A Uh-huh.

Q -- since 56 percent of minorities utilized 24-hour
voting --

A Right.

Q -- it goes to say that 44 percent would have been

White; is that correct?

A Yes.

Q And then for drive-through voting, Whites would have
utilized drive-through voting at 47 percent; correct?

A Yes.

Q And so if we look at where it says, White alone, not
Hispanic/Latino, on the US Census Bureau facts, it says 27.7
percent; correct?

A Yes.

Q And so White voters utilized 24-hour voting at a rate
that was higher than the representation of the population in

Harris County; correct?

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A Yes.
Q And White voters utilized drive-through voting at a rate

that was higher than their percentage in the population in Harris

County; correct?

A Yes.

Q We can put that document aside.

A Okay.

Q Now, I believe you had mentioned also that the actions

taken by Chris Hollins to introduce drive-through voting,
24-hour voting as well as the multiple ballot delivery locations
had led to Harris County having a higher voter turnout; is that
correct?

A I don't know if I said it quite like that, but Harris
County did have record-breaking turnout.

Q Okay. And do you escribe the record-breaking turnout
to any of the voting practices such as 24-hour voting,
drive-through voting and multiple in-person delivery locations?

A Possibly. It was a high-profile election.

Q Okay. And so you don't know whether or not 24-hour
voting contributed to Harris County having record-breaking
numbers; is that correct?

MR. GOLANDO: Objection to form.
BY THE WITNESS (resuming) :
A I don't know. It could have.

Q So you don't know one way or the other whether 24-hour

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voting would have contributed to Harris County having
record-breaking turnout.

MR. GOLANDO: Objection to form.
BY THE WITNESS (resuming) :

A Say that again.

Q You don't know one way or the other whether 24-hour
voting would have contributed to Harris County having
record-breaking turnout?

A It -- it could have.

Q And you don't know one way or the other whether
drive-through voting would have contributed to Harris County
having record-breaking voter turnout.

A Same thing, it could have.

Q So I want to look at a few documents.

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.

BY MS. HUNKER (resuming) :

Q Do you have the document in front of you?
A Yes.
Q Okay. And you see where it says Harris County Voter

Registration Figures; correct?

A Yes.

Q And then there’s also the percent who voted. Do you
see that?

A Uh-huh.

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Q Let's turn the page where it has the 2020 election --
A (Complies with request.)
Q -- and it has the percent of registered voters who
voted at 68.86 percent; correct?
Say that number again.

IT misread the number.

P.O P

Uh-huh.

Q It had the percent voted in the 2020 election at 65.86

percent?
A Yes.
Q And that is of registered voters; correct?
A Yes.
Q And so let's look at a few adjacent counties. And

before I continue, I should have more established the documents.
Do you see where it says, Texas Secretary of State John B.
Scott?

A Yes.

Q And would you agree with me that this is a copy of a
website on the secretary of state’s webpage?

A Yes.

Q Okay. And that was true also of Harris County's
numbers; correct?

A Yes.

Q And so let's look at the percent voted in 2020 from

Fort Bend County. And we see that in Fort Bend, the number --

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correct?

A

Q
A

Q

A
Q
A
Q

> OO Pp

Q
list that

A

Q

A

the percentage of registered voters who voted was 73.99 percent;

Yes.
And that’s higher than Harris County; correct?
Yes.

And let’s look at -- next what I have, which is from

Galveston County. And you'd agree this was also taken from the

Texas Secretary of State's --

Yes.
-- website; correct?
Yes.

And if we look at the percent of registered voters who

voted in 2020, we have 67.33 percent; correct?

Yes.

And that’s higher than Harris County; correct?

Yes.

And we're going to look at -- the next county on the
I have is Montgomery County.

Okay.

And Montgomery County is also from the -- taken from

the secretary of state's webpage; correct?

Yes.

And the percent of voters -- registered voters who

voted in the 2020 election was 73.28 percent; correct?

Uh-huh, yes.

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Q And that is also higher than Harris County; correct?
A Yes.

Q Montgomery County, Fort Bend County and Galveston
County, they border Harris County, do they not?

A Right.

Q And so bordering counties to Harris County had a
higher percentage of voter turnout; correct?

A Yes.

Q And those counties did not have the same voting
practices such as 24-hour voting, drive-through voting or
multiple in-person delivery locations; is that correct?

A Yes.

Q And so these counties have higher voter turnout
without utilizing those practices; is that correct?

A Yes.

Q And so let’s also do a little bit of comparison in
terms of the percentage of increase between 2018 and 2020.
For Harris County?

For Harris County, yes.
Okay.

And so I have that as an increase of 13.86 percent.

> O F OO PF

Okay. I’m sorry. Between 20 --
Q 2018 and 2020. So it's the difference between 52
percent and 65.86 percent.

A Okay. All right.

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Q And I have that as 13.86 percent.
A Okay.
Q And if we look at Montgomery County --
A Okay.
Q -- the difference between 2018 and 2020 is a

difference of 14.28 percent.

A Okay.

Q And then Fort Bend County, we see a difference of
13.99 percent.

A Okay.

Q Now, these numbers are either larger or comparable to
the increase seen in Harris County; correct?

A Yes.

Q And these counties, again, did not utilize the same
innovative voting practices as Harris County such as
drive-through voting, 24-hour voting or multiple in-person
delivery locations; is that correct?

A Yes.

Q And so they had similar increases, if not greater
increases, between 2018 and 2020 with respect to voter turnout
despite not having the innovative practices such as
drive-through voting, 24-hour voting and multiple in-person
delivery locations; is that correct?

A Yes.

Q And we can put these documents aside.

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A (Complies with request.)

Q Do you think that the State has an interest in
promoting uniformity in the interpretation, application and
operation of the election code?

A Possibly.

Q So I want to turn to another Senate Journal entry, and
I'm going to introduce that as an exhibit. This is a different
Senate Journal --

MS. HUNKER: (Provides exhibit.)
MR. GOLANDO: Thank you.
BY MS. HUNKER (resuming) :

Q -- than the one we've been utilizing. Do you have the
document in front of you?

A Yes.

Q And do you see where it says, Senate Journal, 87th
Legislature, Second-called Special Session?

A Yes.

Q And do you see where it says the date, Wednesday,
August 11th, 2021?

A Yes.

Q Okay. And so if we turn to Page 83 -- and I will
again represent to you that only included the sections of the
journal that were relevant to our deposition today.

A Okay.

Q -- on the bottom of the page, you'll see where it

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A Yeah, I'm not in that chamber. I don't -- I don’t
know.

Q Okay. We can put that aside.

A Uh-huh.

Q Were you aware that Senate Bill 1 allows voters to
vote if they are in line when polls close during early-voting
period?

A Yeah.

Q Are you aware that that was added by Senate Bill 1 and
did not pre-exist it with respect to early voting?

A Yes.

Q And were you aware that Senate Bill 1 expands
protection for voters against employer penalties during the
early-voting period?

A I wasn't aware of that part.

Q Let's quickly look then at page -- Section 702 [sic]
of Senate Bill 1.

MR. GOLANDO: What page is that?
BY THE WITNESS (resuming) :

A What page did you say?

Q Section 7.02. It’s going to be on Page 57.

A Okay.

Q Okay. And it says: This Section 7.02, which amends
Sections 276.004(a) and (b) of the election code --

A Uh-huh.

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Q -- and if you see A, which already existed: A person

commits an offense if, with respect to another person over whom
the person has authority in the scope of employment, the person
knowingly refuses or permit the other person to be absent from
work election day. And then Senate bill 1 adds: Or while early
voting is in progress for the purpose of attending the polls to

vote. Did I read that correctly?

A Yes.
Q It also says that the person would be committing an
offense if they knowingly -- subjects, threatens to subject the

other person to a penalty for attending the polls on election
day or -- or while early voting is in progress to vote, and
Senate Bill 1 added, Or while early voting is in progress. Did
I read that correctly?

A Yes.

Q Okay. And so would you agree with me that here,
Senate Bill 1 extended protections to workers to take time to
vote during the early-voting period?

A Possibly, yes, yes.

Q Is that a yes?

A Yes.

Q Okay. Also, since we're getting towards the end of
the deposition, I was hoping that we can now introduce your
notes --

A Sure.

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